Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 1 of 29 PagelD #: 1965

WILLIAM OLSTEN 9/3/2021

Page 1 Page 3
1 UNITED STATES DISTRICT COURT 1 UNITED STATES DISTRICT COURT i
2 EASTERN DISTRICT OF MISSOURI 2 EASTERN DISTRICT OF MISSOURI
3 EASTERN DMISION 3 EASTERN DIVISION
4 4
5 RASHEEN ALDRIDGE, )
RASHEEN ALDRIDGE, ) 5 Plaintiff, )
6 Plaintiff, ) )
) 6 vs. ) CASE NO. 4:18-cv-01677-CAS
7 vs. ) CASE NO. 4:18-cv-01677-CAS )
)
7 CITY OF SAINT LOUIS, et.)
8 CITY OF SAINT LOUIS, et.) all )
I. .
5 a ai ; 8 Defendants. )
9 efendants. ) 9
10 ia
11 11
12 VIDEO RECORDED DEPOSITION 75
13 OF aoe
5 ihilinia OCHEN ig Video Recorded Deposition of WILLIAM OLSTEN,
4
- 14 produced, sworn, and examined on the 3rd day of September,
16 -TSkSH Sh BERSIESES PLAIN IS. 2021, between the hours of 9:02 a.m. and 11:39 a.m. of that
7 16 day, via Zoom Videoconference before LEI ANN ODOM, Certified
ie September 3, 2021 XL Court Reporter No. 428, Registered Merit Reporter, Certified
19 1 Realtime Reporter, and a Notary Public within and for the
TAKEN VIA ZOOM Olsten Exh. E 19 State of Missouri, in a certain cause now pending in the
20 20 United States District Court, Eastern District of Missouri,
21 21 Eastern Division, wherein RASHEEN ALDRIDGE is the Plaintiff,
22 (Whereupon, the deposition commenced at 9:02 a.m) 22 and CITY OF SAINT LOUIS, et. al., are the Defendants.
23 23
24 24
25 25
Page 2 Page 4
1 INDEX E APPEARANCES
2 REPRESENTING THE PLAINTIFF, RASHEEN ALDRIDGE:
2 PAGE: 3. JAVADKHAZAELIESQ. _ (Appearing via Zoom)
3 Examination by Mr. Khazaeli...sesssersen 7 AARON BANKS, FSG.
. 5 4 Khazaeli Wyrsch LLC
4 Examination by Ms. DUNCAN........cccene 108 911 Washington Avenue, Suite 21
5 Reexamination by Mr. Khazaeli....... ee 10 5 Saint Louis, Missouri 63101
6 (314) 288-0777
6 javad.khazaeli@kwlawstl.com
7 7 REPRESENTING THE DEFENDANT, CITY OF SAINT LOUIS, et. al. AND
g JOHN HAYDEN:
8
9 ABBY J. DUNCAN, ESQ. (Appearing via Zoom)
10 9 BRANDON D. LAIRD, ESQ.
St. Louis City Counselors Office
Ld 10 1200 Market Street, Room 314
12 St. Louis, Missouri 63103
11 (314) 622-4378
i duncana@stlouis-mo.gov
14 12 lairdb@stlouis-mo.gov
13. REPRESENTING THE DEFENDANT AND CROSS-CLAIMANT, WILLIAM OLSTEN:
15 EXHIBIT INDEX 14 BRIANP.MILLIKAN.ESQ. —_ (Appearing via Zoom)
16 N E Millikan Law Office LLC
( one marked ) 15 12180 Old Big Bend Road
17 Saint Louis, Missouri 63122
18 16 bmillikanémillikanlaw.com
17 ALARIS LITIGATION SERVICES: (Appearing via Zoom)
19 18 VIDEOGRAPHER: KEITH MONTGOMERY
20 COURT REPORTER: LEI ANN ODOM, CRR, RMR, Missouri CCR #428
19 711 North Eleventh Street
21 St. Louis, Missouri 63101
22 20 (314) 644-2191
23 22
24 23
24
25 35

1 (Pages 1 to 4)

ALARIS LITIGATION SERVICES

www.alaris.us Phone: 1.800.280.3376 NST EXHIBIT
i OUStE YS

E

—

WILLIAM OLSTEN 9/3/2021

Page 5 Page 7
1 IT IS HEREBY STIPULATED AND AGREED, by and among 1 was examined and testified as follows:
2 counsel for Plaintiff and counsel for Defendants that the 2
3 deposition of WILLIAM OLSTEN be taken before Lei Ann Odom, 3 EXAMINATION
4 Certified Realtime Reporter, Registered Merit Reporter, 4 BY MR. KHAZAELI:
5 Certified Court Reporter No. 428 for the State of Missouti, 5 Q. Good morning.
6 and thereafter caused to be reduced to print by means of 6 A, Morning.
7 computer-aided transcription, and the signature of the witness 7 Q. Have you ever been deposed before?
8 being waived. 8 A. Yes.
9 9 Q. Okay. So before we get started have you ever been
10 oeeee 10 deposed on video before?
11 11 A, I believe I have.
12 THE VIDEOGRAPHER: We are on the record, Today's 12 @. What about cn Zoom?
13 date is September 3rd, 2021 and the time is 9:02 a.m. 13 A. [think so.
14 This is the video recorded deposition of William 14 Q. Clay. So Just to go over Just a few ground rules,
15 Olsten in the matter of Rasheen Aldridge versus City of 15 sometimes there's a little bit of a lag when stuff happens on
16 St. Louis, et. al., Case No. 4:18-cv-01677-CAS in the 16 Zoom which Increases the [ikelihood that we're going to talk
7 United States District Court, Eastern District of 17 over each other. When that happens it makes Lel Ann's job
18 Missouri, Eastern Division. 18 very difficult so let's try, and | fall for this all the time,
19 This deposition is being held remotely via Zoom 19 let's try to make sure that | finish my answers before you
20 link, 20 Start to answer. And also let's make sure, and I'll try to do
21 The Reporter's name is Lei Ann Odom. My name is 21 my best, to let you fully answer before | start to talk.
22 Keith Montgomery, I'm the Videographer. We are with 22 Okay?
23 Alaris Litigation Services. 23 A Yes.
24 Would the attorneys present please introduce 24 Q. The second thing Is when we're dealing with
25 themselves and the parties they represent. 25 technology sometimes there are some issues. If the screen
tt
Page 6 Page 8
1 MR. KHAZAELI: Javad Khazaeli and Aaron Banks for 1 freezes in any way or if at some point you can't hear me,
2 the Plaintiff. 2 ‘we've been having intemet issues In cur building recently, we
3 MR. MILLIKAN: Brian Millikan for Defendant‘ 3 can take a quick break or pause stuff. Just tet me know; f H
4 Cross-Claimant William Olsten, 4 don't want you answering any questions that you don't fully Li
5 MS. DUNCAN: Abby Duncan for Defendant Hayden and 5 understand. Okay?
6 City of St. Louls. 6 A. Okay.
7 THE VIDEOGRAPHER: Would the Court Reporter please 7 Q. [fl ever ask you a question that you do not :
8 read on the remote stipulation and then swear in the 8 understand feel free to ask me to clarify.
9 witness, 9 Also if any of the other attomeys make any j
10 THE COURT REPORTER: This is Lei Ann Odom and lama 10 objections, just because we've got that lag thing going on,
11 Registered Merit Reporter and Certified Court Reporter. 11 Just let them speak so that we don't have a lot of overlap.
12 Iwill be administering the cath and reporting these 12 Okay?
13 proceedings remotely via Zoom videoconference. 13 A. Okay. |
14 Caunsel, please indicate your individual agreement 14 Q. Will you state your name fer the record?
15 to this manner of proceeding. after which | will swear In 15 A. William Olsten. i
16 the witness and we may begin. 16 @. Allright. And I don't need your full address, Mr.
17 MR. KHAZAELI: Plaintiff's counsel so stipulates. 17 Olsten, but where, what city do you live In?
18 MR, MILLIKAN: Olsten’s counsel stipulates. 18 4. Fenton, Missouri.
19 MS. DUNCAN: Defendants City end Hayden so 19 Q. Where do you currently work?
20 stipulate. 20 A. For Coatings Uniimited.
21 THE COURT REPORTER: Mr. Olsten, would you raise 21 Q. And what type of work Is that?
22 your right hand. 22 A. It's construction.
23 23 Q. When did you first become a police officer?
24 WILLIAM OLSTEN, 24 A. | was in the Academy in 2007 and commissioned as an
25 called as a witness by the Plaintiff, upon being duly sworn, 25 officer in June of 2008.

www.alaris.us

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

2 (Pages 5 to 8)

Fax: 314.644.1334.
www.alaris.us

WILLIAM OLSTEN 9/3/2021
Page 9 Page 11
1 Q. Was that always with the St. Louls Metropotitan 1 officer would give to an individual.
2 Police Department? 2 Q. So you think any commands? Are there any specific
3 A Yes. 3 commands In 2017 that a St. Louls palice officer was supposed
4 Q. Have you ever worked for any other police 4 to give before using a chemical weapon?
5 depertments? 5 A. Yes. The command of get back or stay back was a
6 A. No. 6 lawful command used,
7 Q. Have you ever worked In the military? 7 Q. Beyond that were there any other commands that a
8 A, No. 8 police officer was supposed to use?
9 Q. So's it falr to say that the only police training 9 A. Idon't recall, sir.
10 you've ever received Is from the St. Louls Police Department? 10 Q. Let's go to — you sald that you were In the Academy
11 A. For the most part. 11 In 2007. What type of training did you recelve in the
12 Q. When you say for the most part, what does thet mean? 12 Academy?
13 A. Sol've gone to other trainings outside of the 13 A. lreceived legal training, defensive tactics,
14 Department that independent companies host, but for the major 14 traffic enforcement. Basically everything that's — you're
15 training it's been through the Department. 15 going to be doing as a police officer.
16 Q. Those other trainings that you went to, did you go 16 Q. Let's go through your legal training. Give me a
17 there as a member of the Police Department or were you doing 17 brief summary of what your legal traIning was.
18 training — 18 A. They just go over state statutes and city ordinances
19 A. Yes. 19 and department policies.
20 Q. — for some kind of secondary? 20 Q. And why did you have to learn about city ordinances?
21 A. Asamember, as the Police Department. 21 A. To familiarize yourself with the laws of the city
22 Q. While you were at the Police Department did you ever 22 you're going to patrol.
23 do any secondary security duty? 23 Q. But why was that important for a police officer to
24 A. Yes. 24 know?
25 Q. Who did you work for? 25 A. So you're not ~ so you're enforcing the correct
Page 10 Page 12
1 A. t's been along time. I think | worked for The 1 laws when you're enfarcing law.
2 Trophy Room. | also worked for Bar 101. And that’s alll can 2 G. So you'd agree with me that a police officer needs
3 really remember right now, I'm not sure. 3 to know the elements of a law before he can enforce it;
4 Q@. Did you ever work for any of those organizations 4 correct?
S like The City’s Finest or CGI or any of these other private 5 A. Yes.
6 police forces? 6 Q. In September 2017 what were the elements of the St.
7 A. No. 7 Louls ordinance for unlawful assembly?
8 Q. So your secondary duty was like Ilmited to working 8 MR. MILLIKAN: I'm going to object just to the
9 at bars and restaurants? 9 extent that it calls — could call far a legal
10 A. Yes. 10 conclusion.
11 Q. Okay. I'm going to take you back to the Incident In 11 To the extent, Bill, that you know you can answer.
12 September 2017 at Busch Stadlum. Oo you remember that 12 Q. ®y Mr. Khazael) I'll ask the question again: In
13s Incident? 13. September 2017 what was your understanding of the elements of
14 A. Yes. 14 the St. Louls ordinance for unlawful assembly?
15 Q. At that time what was the City of St. Louis's policy 15 THE WITNESS: I'm sorry —
16 on the use of chemical weapons? 16 MR. MILLIKAN: Same objection.
1? A. [twas used as a non-deadly alternative to control a 17 THE WITNESS: I'm sorry, Javad. Brian, § didn't
18 combative or belligerent individual or to effect a lawful 18 hear what you said there at the end.
19 arrest or to disperse a volatile crowd, 19 MR. MILLIKAN: Same objection. Just you can — you
20 Q. Do you remember you anything else about the specific 20 can answer. To the extent that you know.
21 policy at the time? 21 A. Okay. As far as I knew we — it was lawtully
22 A. Just that it’s to be used as an alternative to 22 assembled whenever the protest began. At some point
23 physical contact and is to be used after verbal commands fail. 23 throughout the incident it became unlawful.
24 @. And what type of verbal commands? 24 @. (By Mr. Khazaell) How did it become unlawful? What
2s A. Any verbal commands that a lawful law enforcement 25

made it unlawful?

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

3 (Pages 9 to 12)

Fax: 314.644.1334.
WILLIAM OLSTEN

9/3/2021

Page 13 Page 15
1 A. There were assaults on law enforcement officers and 1 A. Again, ! don’t remember exactly what the training
2 refusal to obey lawful commands, 2 was.
3 Q. And for an unlawful assembly, fs there a number of 3 Q. What about the First Amendment?
4 people that need te be Involved In any of this malfeasance for 4 A. [don't remember exactly what the training was.
5 it to be an unlawful assembly? 5 Q. Do you remember any kind of training that you
6 MR. MILLIKAN: I'm going to object again. Calls for 6 received about Constitutional rights that people protesting
7 a legal conctusion. 7 have?
8 To the extent that you know, Bill, you can answer. 8 A. [t's been so long since the Academy, I'm not sure
9 A. Yeah, I'm not— 9 exacily what training they gave us.
10 MR. KHAZAELI: Hey, Brian? 10 Q. Did you ever receive additional training while you
11 MR, MILLIKAN: Yeah. 11 were an officer after you left the Academy?
12 MR, KHAZAELI: Brian, I'm going to ask a few 12 A. Yes.
13 questions about different ordinances. You want to just 13 Q. And you were an officer for almost ten years, more
14 do a running objection? 14 then ten years; correct?
15 MR. MILLIKAN: [f that — that would be preferred as 15 A. Yes.
16 long as you're okay with that. 16 Q. So during your ten plus years of being an officer
17 MR. KHAZAELI: I'd prefer it that way too, 17 what trainings do you remember about the Constitutional rights
18 MR. MILLIKAN: Okay. 18 of protesters?
19 MR. KHAZAELI Okay. 19 A. [don't recall exactly what training the Department
20 Q. (By Mr. Khazaefl) So Mr. Olsten, what that means Is 20 gave. | would have to refer to training history.
21 that your counsel has a running objection about my not being 2i Q. Sitting here today, though, do you remember any
22 able to use this for legal conclusions but that you can stil 22 aspects of those trainings?
23 go ahead and answer these to the best of your ability. Ckay? 23 A. Not off the top of my head.
24 A. Okay. 24 @. Do you think In September 2017 you would have
25 Q. So let's go back to the unlawful assembly, Based on 25 remembered specific aspects of those trainings?
Page 14 Page 16
1 your knowledge in September 2017 was there a — did the 1 A. It's possible.
2 ordinance require a certein number of people to be Involved 2 Q. But you're not sure.
3 for itto be an unlawful assembly? 3 A. Not sure.
4 A. I don't know an exact number, 4 Q. Do you think in September 2017 you would have known
5 Q. Based on your knowledge do you recall if the 5 the specific elements of the ordinances I've asked you about?
6 ordinance required those people to do anything for It to be 6 A. It's possible.
7 considered an unlawful assembly? 7 Q@. But you're not sure?
8 A. Fm nat sure. 8 A. I'mnot sure.
9 Q. Okay. Now, back in 2017 what was your understanding 9 Q. Okay. Have you ever heard of a Federal case called
10 of the requirements for the St Louis ordinance for impeding 10 Templeton v. Dotson?
11 traffic? 11 A. No, | have not.
12 A, I knew that it was an ordinance to not impede 12 Q. Were you — you were working at the Police
13 traffic. However, the Department was allowing it for the 13 Department when the Michsel Brown verdict came down; right?
14 protesters at this event 14 A. Yes.
15 Q. Okay. What -- so let's go through your training. 15 Q@. Did you work in the protest during the Michael Brown
16 Did you get any training at the Academy on Constitutional law? 16 protest?
17 A. Yes. 17 A. Iwas actually on vacation when that started but!
18 Q. What is your recollection of what you were trained 18 was up there for a couple days at the very end.
19 on regarding the Fourth Amendment? 19 Q@. Okay. Do you remember ever being told by anybody
20 A. The Fourth Amendment? 20 within your chain of command that the policies regarding how
21 Q. Yes. 21 police regard — react to protests changed after the Michael
22 4. | don't remember exactly what the training was. 22 Brown case?
23 Q. What about the Fifth Amendment? 23 A. [don't recall.
24 A. [don't remember exactly what the training was. 24 Q. Do you remember any specific trainings after Michael
25 Q, What about the Sixth Amendment? 25 Brown but before the Incident in this case where you were told

www.alaris.us

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

tl
4
i

4 (Pages 13 to 16)

Fax: 314.644.1334

Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 5 of 29 PagelD #: 1969

WILLIAM OLSTEN 9/3/2021

Page 17 Page 19
i that St. Louls Police policies changed regarding the use of 1 report.
2 chemical weapons? 2 Q. Okay. So you don't remember any officers talking to
3 A. | don't recall. 3 you where they were investigating your actions that night?
4 Q. Sitting here -- but sitting here today you can't 4 A. No,
5 remember any of those; correct? 5 Q. Okay. Because | would assume, and tell me if I'm
6 A. | don't remember if anything changed after -- 6 wrong here, if somebody were to call you in and say, hey,
7 Q. Okay. 7 we're investigating you for criminal activities, what would
8 A. that. 8 your first reaction — what would the first thing that you do?
9 Q. Let's go to the incident did that night. After that 3 What would be the first thing that you would do?
10 incident when was the first time that you were questioned 10 A. |would contact my attorney.
it about what occurred on the night of the Busch Stadium protest 11 Q. You would call the union or your attorney; correct?
12 by anybody In law enforcement? 12 A. Yes.
Ls A. It would be a guess. I'm assuming it would be 13 Q. Do you remember ever doing that with regards to this
14 after, you know, sometime after the event happened. 14 case?
15 Q. Approximately how long? 15 A. No.
16 A. I'm not sure, sir. 16 Q. Okay.
17 Q. Do you remember who spoke to you? 17 MR. MILLIKAN: Well, | just want to make sure the
18 A. No. 18 record's clear because at some point obviously, Javad, he
19 Q. Do you remember if it was somebody with Internal 19 was charged so he did obviously contact someone then but
20 Affairs that spoke to you? 20 | just — for the record —
21 A. No. 21 MR. KHAZAELI: Let me clarify. | can clarify.
22 Q. Do you know if it was somebody named Sergeant Wall, 22 MR. MILLIKAN: Okay.
23 W-a-l-I? 23 Q. (By Mr. Khazaeli) Before you were criminally
24 A. No. 24 charged were you ever approached by an investigator from the
25 Q, Do you recollect at all whether anybody ever spoke 25 Police Department?
Page 18 Page 20
1 to you? 1 A. No, | was not.
2 A. I'm sorry. What was the question? 2 Q. Okay. What unit were you working with at the time
3 Q. Do you recollect at all if anybody ever interviewed 3 of the incident?
4 you about what happened that night who was a part of the St. 4 A. | believe it was the Special Operations Division.
5 Louis Police Department? 5 Q. And who was your supervisor at that time?
6 A. | don't -- | don't recall who | spoke with after it. 6 A. My immediate supervisor was Eric Bartlett.
7 Q. But when you recall — but did you speak to 7 Q. He's a Sergeant; right?
8 somebody, though? 8 A. Yes.
9 A. I'm sure I did. 9 Q. Tell me about the Special Operations Unit. What
10 Q. Okay. Do you remember anything about that 10 does the Special Operations Unit do?
11 interview? 11 A. So at that time our mandate was to basically go
12 A. Not off the top of my head. I'd have to — 12 after violent offenders who were committing gun crimes and
13 Q. Let's go through — 13 narcotics violations.
14 A. I'm sorry. 14 Q. Have you ever heard of the phrase the Jump Out Boys?
LS Q. Atthe time — sorry. Go ahead, Did | cut you off? 15 A. I'm sorry. What was that? You cut out.
16 Go ahead and finish. 16 Q. Have you ever heard of the phrase, the Jump Out
17 A. Yeah, | said not off the top of my head. I'd have 17 Boys? J-u-m-p O-u-t, the Jump Out Boys.
18 to refer to a police report. 18 A. Yes, | have.
19 Q. I'm talking about specifically any investigations 19 Q. And have you ever heard that phrase used to refer to
20 into your actions that night. Do you remember if |AD ever 20 the Special Operations team?
21 spoke to you about your actions that night? 21 A. It's possible.
22 A. I don't believe they did. 22 Q. Have you ever heard that phrase being used for the
23 Q. Okay. Do you remember if any Police Department 23 Special Operations Team?
24 officers spoke to you about your actions that night? 24 A. It's possible.
25 A. Ifso it would've just been the author of the police 25 Q. When you say it's possible, I'm trying to clarify.

www.alaris.us

5 (Pages 17 to 20)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334

WILLIAM OLSTEN 9/3/2021
Page 21 Page 23
1 Do you remember ever hearing anybody refer to the Special 1 assigned. | was there for a short pesiod of time and he was
2 Operations Team as the Jump Out Boys? 2 working in the Fifth District as well,
3 A. Idon't remember anyane specifically, no, sir. 3 Q. Were you ever partners?
4 Q. But do you remember that ever happening? | don't 4 A, No.
5 need to know who the person wes, but do you remember anybody 5 G@. Have you ever socially hung out with Officer Boone?
6 ever or ever having heard of the Special Operations Team 6 A. No, [have not.
7 referred to as the Jump Cut Boys? 7 Q. Are you aware that Officer Boone was Indicted and
8 A | dan't remember. 8 convicted regarding the beating of an officer, Luther Hall?
3 Q. Who was your partner with the Special Operations 9 A. Yes.
10 Team in September of 20177 10 Q. And are you swere that during that trial some of
11 A. Officer Zajac. 11 Officer Boone's text messages were released?
12 Q. Could you spell Zafac for the record? 12 A, Just what I’ve seen in the news, sir. | don't have
13 A Z-a-pa-c. 13 any personal knowledge of it.
14 Q. Bo you still keep in touch with Officer Zajac? 14 Q, Okay. Are you aware that some of the text messages
15 A. Yes. 15 that were released were text messages between Officer Boone
16 Q. Where Is he currently employed? 16 and your partner, Officer Zajac?
17 4. (believe he's still an the books for the Police 17 A. I'm not aware of that.
18 Department. However, he’s been aut injured for a while and 1 18 Q. Nobody has told you In the lest five months that
19 think he's going to be medically retired is what he's trying 19 there were text messages that were publicly released in the
20 to do. 20 newspapers between Officer Boone and Officer Zajac?
21 @. So you believe that he's out on an Injury, on an 21 A. Again, I don't remember, sir. Just what ! - just
22 Infury leave; right? 22 what I've seen in the news, [t's a situation that | did not
23 A Yes. 23 want to ask any questions about to anyone because | didn’t
24 @. And what do you think Is going to happen? What do 24 want to even know about it.
25 you believe fs going to happen as a resutt of that? 25 Q. Are you aware that In these text messages Officer
Page 22 Page 24
1 A I believe he's trying to seek medical retirement. 1 Zajac is buying iitegal drugs from Officer Boone?
2 Q. Tell me what you know about medical retirement. 2 A. No.
3 A. Very little. 3 Q. Are you aware of your partner, Officer Zajac, ever
4 Q. But just generally what happens when somebody gets a 4 using illegal drugs?
5 medical retirement? 5 A. No.
6 A. Basically if they receive an injury while on duty 6 Q. You've never seen him with pills?
7 that renders their ability to be a potice atficer again that 7 A. No.
8 they can be medically retired. 8 Q. You've never seen him with any type of illegal
9 Q. And that's a lifetime retirement; correct? 9 substances?
10 A Yes. 10 A. No.
il Q. And you get some form of payment for the rest of ll Q. Have you ever used any illegal substances?
12 your career until you get to retirement age; correct? 12 A. No.
13 A. (believe so. 13 Q. Never used any drugs?
14 Q. Are you familiar with an officer named Oustin Boone? 14 A. Never.
15 A. Yes. 15 Q. Never used marijuana?
16 Q. How do you know Dustin Boone? 16 A. [have never smoked marijuana in my life.
17 A. [| know him from the Police Department. 1? Q. Ever used any steroids?
18 Q. How well do you know him? 18 A. No.
19 A. Not well. 19 @. Ever used any kind of ADHD type medicine?
20 Q@. Have you ever worked with him? 20 A. No.
21 A Avery, very short period of time. 21 Q. And Officer Zajac was your pertner on Special Ops;
22 Q. When? 22 correct?
23 A. [believe it was in 2000 - it's whenever the 23 A. Yes, he was,
24 Narcotics Division was dispersed back into the districts, | 24 Q@. Did you ever work with — no. Let me take that
25 was transferred to the Fifth District where he was also 25 back,

6 (Pages 21 to 24)

ALARIS LITIGATION SERVICES

www.alaris.us Phone: 1.800.280.3376

Fax: 314.644.1334

WILLIAM OLSTEN

9/3/2021

www.alaris.us

Page 25 Page 27
1 Did you ever work with an Officer Ronald Veughan? 1 correct?
2 A. Yes. 2 A. Correct.
3 Q. When did you work with Officer Ronald Vaughan? 3 Q. What did you do In the Third District?
4 A. He was also assigned to the Special Operations 4 A. Justa patrol officer.
5 Division. 5 Q. And at that time can you just give me the rough
6 Q. How long — let’s take a Jump. How long were you on 6 borders of the area that was the Third District?
7 Special Ops? 7 A. [tused to be 44 was the northern boundary |
8 A. Several years. 8 befieve; the river, Mississippi, was the boundary;
9 Q. Okay. Do you remember exactly when? Or roughly. 3 Chippewa was the southern boundary; and | believe Kingshighway
10 How about roughly? Do you remember roughly — ro was the western boundary.
11 A, Raughly | would say four years maybe but, | mean, 11 Q. Okay. So kind of the south city area like directly
12 they changed the name of it a couple times so I'm not — you 12 around where St. Louls University Hospital Is, that type of
13 know, it was Narcotics, it was Special Operations but it was 13 area; right?
14 ail basicalty the same thing. 14 A. South, south of 44.
15 Q. Let's take a step back. You mentioned a while ago 15 Q. Okay.
16 that Officer Boone got moved off of Narcotics when it was 16 A. So it wouldn't be the hospital in there.
17 dissolved. Were you on Narcotics when the Narcotics Team got 17 Q, Allright. | meant the new hospital. There's that
18 dissolved? 18 new fancy hospital there. Okay.
19 A. I'msorry. What was the first part of the question? 19 So Third District you were basically Just a patrol
20 Q. I think you testiffed earlter that when you worked 20 officer, correct? |
21 with Officer Boone It's when he was absorbed back Into the 21 A. Basically, yes.
22 Fifth District; correct? 22 Q. August 20th, 2012 you were transferred to something
23 A. It's whenever — 23 called the Rapid Deployment Unit. What is that? | haven't
24 Q. Okay. 24 seen that before.
25 A. —I was absorbed in the Fifth District, yes. | was 25 A. The Rapid Deployment Unit was a unit that was
Page 26 Page 28
1 assigned to Narcotics and that unit was dissolved - absorbed 1 citywide and their mandate was to go into high crime
2 into the area districts. 2 neighborhoods, similar to the hot spot policing. If there's a
3 Q. So how long were you with Narcotics? 3 lot of crime in one area, we would go to that area.
4 A, Again, it was — it was basically the same thing as 4 Q. How was that different than the Special Operations
5 Special Operations. We never left the same — we were in the 5 Team?
6 same building, same desks, everything. So it's hard to say — 6 A. The Rapid Deployment Unit was uniformed and we drove
7 Q. Okay. 7 uniform police vehicles.
8 A. — exactly when that transition was, just the 8 Q. And it looks like you were on that team for seven
9 renaming. But maybe a year or so. 9 months. Does that look right?
10 Q. I think Just to make this easier, because | don't 10 A. Yes.
11 realty like during depositions when we belabor a lot of il Q@. How were you selected for the Rapid Deployment Team?
12 points, I'm going to see if | can share this screen. Am] 12 A. You have to apply for it end interview.
13 able to share it? Good. 13 Q. Allright. And then you left the Rapid Deployment
14 lam going to put up on the screen what has been 14 Team In March of 2013; correct?
15 identified to me as City’s exhibits In Aldridge v. City, OCO0S 15 A Yes.
16 through 0008 and this is your profile. Okay? 16 Q. What was the Impetus for you leaving the team?
17 A. Okay. 17 A. Whenever the new chief took over | believe he
18 Q. And let's just go through this. 18 dissolved the Rapid Deployment Unit back into the districts.
19 You see here October 2007, that's when you were a 19 Q. Okay. Good. Then you went back to the Third
20 new hire; correct? 20 District, What did yau do on the Third District? You were
21 A. Yes. 21 there for about three months.
22 Q@. And then you would have been on ~— some form of 22 A. Just patrolled.
23 probationary officer for about a year, right? 23 Q@. Allright. And after you left the Third District
24 A. Right. 24 how did you get an Special Ops?
25 Q. And then you were In the Third District for a while; 25 A. Applied and interviewed.

7 (Pages 25 to 28)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334 |

WILLIAM OLSTEN 9/3/2021

www.alaris.us

HW

Page 29 Page 31
1 Q. Soa basically Is it fatr to say that from June of 1 A No.
2 2013 until you were moved to admin duty — I'm sony, until 2 Q. But it’s fair to say when you're in Special Ops you
3 you were moved to the Fifth District in April of 2048 that you 3 often do operations with more than Just your partner; right?
4 were on elther Special Ops or Narcotics the whote time? 4 A. That's fair.
5 A. Yes. 5 Q. And you would have ~ did you do larger cperations
6 Q. So you were there from 2013 from, It looks like 6 with Officer Vaughan?
7 here, June 24th, 2013 until you were transferred to the Fifth 7 A. Yes.
8 District on April 15th, 2018; correct? 8 Q. Do you know what Officer Vaughan — well, sorry.
9 A. Correct. 3 Sttke that.
10 Q. What does retum from limited duty mean? 10 Did you ever socialize with Officer Vaughan?
11 A It means if you're like out injured, once you get a 11 A Yes.
12 clearing fram a doctor to come back to work and they return 12 Q. Tellme about that
13 you from limited duty. 13 A. You mean outside of work?
14 Q. Okay. So you were put on Itmited duty in 2016. 14 Q. Yes.
15 What was that about? 15 A. [believe I've gone to a Christmas party or two that
16 A. I belleve that was a car accident. 16 he hosted over the years. Apart from that, we didn’t
17 Q@. Was ita chase or was It Just a car accident? 17 socialize much outside of work.
18 A. It was a— we got T-boned by a guy who was fleeing 18 Q. When was the last time you spoke to Officer Vaughan?
19 from our detectives. 19 A. After he was indicted.
20 Q. tn September, earty September, before this Incident, 20 Q. Actually, let's Jump — | forgot something. Let's
21 2017 you were also on [imited duty. What was that for? 21 jump back to Officer Zajac. Okay?
22 A. Thonestly don't recall right now what that was 22 A. Okay.
23 from. 23 Q, | Just told you about text messages that were
24 Q. Okay. But you would agree with me that you came 24 released pubilcty between Officer Boone and your former
25 back from limited duty on September 12th, 2017; right? 25 partner where your former partner Is obtaining illegal
Page 30 Page 32
1 A Yes. 1 nercotics. Okay? What ts your reaction to that Information?
2 Q. And that's about two weeks before the Incident 2 A. I don't believe he's ever obtained Illegal narcotics
3 occurred; correct? 3 fram anyone.
4 A. Yes, 4 Q. Well, i'm telling you right now that there are text
5 Q. Okay. We'll get to why you were moved to admin duty 5 messages that are publicly out there from Officer Zajac
6 tater, Okay. 6 stating: | want these narcotics. I've taken these narcotics.
7 So you were on Special Ops or Narcotics for upwards 7 (lke how these narcotics affect me. | would like to obtain
8 of four years; right? 8 more narcotics.
9 A. I'm sorry? 9 Assuming everything | just sald Is true, what Is
10 Q. You were on Special Ops or Narcotics for upwards of 10 your reaction to that?
11 four years. 11 A. I don't have a comment on that, sir.
12 A Yes. 12 Q. Buti'm asking: What Is your reaction to that? How
13 Q. Actually, it was close to five years, it was more 13 do you feel about that? What Is your reaction to that?
14 than five years. 14 A. I don't have a comment on that, str.
15 A. Close to five years, yes. 15 Q. Do you net have a comment because you don't have a
16 G. Durtng that time did you ever work with Ronald 16 reaction or you just don't want to answer my question?
17 Vaughan? 17 A. I don't have a reaction to it.
18 A. Yes. 18 Q. You have no reaction to the fact that your fermer
19 Q. Tell me about your work relationship with 19 partner is publicly Identified, as a swom law enforcement
20 Mr. Vaughan. 20 Officer, as to buying illegal drugs? You have no reaction to
21 4& We were both assigned to the same unit. We were 21 that?
22 mandated with the same duty. He was on our squad for most of 22 A. I don't know if it's true or not, sir, so | don't
23 that time. 23 know.
24 Q. Did you ever - were you ever assigned to be his 24 Q. Let's just play a game here and let's assume that
25 partner? 25 what's publicly reported and was entered Into evidence In a

8 (Pages 29 to 32

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334
WILLIAM OLSTEN

9/3/2021

www.alaris.us

ALARIS LITIGATION SERVICES
Phone: 1.800.280.3376

Page 33 Page 35
1 Federal sult is true. Let's assume that's true. What would 1 A. Ijust ~ it just seemed silly to forge to a
2 your reaction be if that were true? 2 doctor's note.
3 MR. MILLIKAN: I'm going te just abject to the 3 Q. I mean, this Is a doctor's note to get two weeks of
4 extent it calls for speculation. 4 paid teave. Other than it was silly, do you have any other
5 But Bill, assuming those ~ that information is s reaction to that?
6 true, what's your reaction? Go ahead and answer. 6 A. No.
7 A. [would not approve of it. 7 Q. Are you awere that Officer Vaughan hed previously
8 Q. (By Mr. Khazaelf) Okay. And based on your 8 been accused of planting drugs on a witness that ha arrest -
9 experience as a police officer if en officer was found buying 9 on a suspect that he arrested?
10 and using llega! narcotics what should happen? 10 A Idon'trecall.
11 A. Buying and using illegal narcotics? 11 Q@. When you worked with him on the Narcotics Team,
12 Q@. Yes. 12 body ever Infe d you that Ronald Vaughan had been accused
13 A. Is that what you said? 13 of planting drugs on body?
14 Q. Yeah. What should happen to the officer? 14 A No.
15 A. They should not be a police officer anymore. 15 G. You'll concede that one of the things that you did
16 Q. Right Should they be able to get a lifetine 16 on the Special Ops and Narcotics Team was arrest peopte for
17 retirement? 17 having drugs on them: correct?
18 A. I'm not sure. 18 A Yes.
19 Q. Okay. Let's go to Ronald Vaughan. You sald that 19 Q. Siting here today would you went a — would you
20 the last time you spoke to him was — you sald something about 20 have wanted to know that somebody on your team had been
21 his Indictment. Wes it before or after his Indictment? 21 accused of planting dnigs on somebody In the past? [s that
22 A. You said the last time | spoke with him and I think 22 information you think you should have known?
23 ~ | believe the last time | spoke with him was after his 23 A. Possibly. | mean, if they were actually doing it
24 indictment. 24 then yes, I'd want to know.
25 Q. Tell me about what you know about his indictment. 25 Q. But wouldn't you want to know about any accusations
Page 34 Page 36
1 A. Very little. Just what I've read. That apparently 1 against anybody on your team?
2 he had something to do with a medical form or something that 2 A. Not necessarily.
3 he turned in that was not properly signed or filled out or 3 Q. What If you were to learn that a Judge had thrown
4 something. {I'm not sure exactly. 4 out a case Involving Officer Vaughan after watching a video
5 Q. Weil, | can tell you that what has publicly been 5 that allegedly showed that he plented drugs on somebody? Is
6 reported and that what fs IIsted in the criminal Complaint 6 that something you would want to know about ancther officer
7 against him Is that the St Louis Pollce Department determined 7 that you're In the fleld with?
8 that he forged a doctor's note from a doctor stating that he 8 A. Isuppose.
3 needed to go out cn pald COVID leave. Have you heard that? 9 Q, When you say I suppose, what does that mean?
10 A. That sounds right. 10 A. Again, | mean, if he was actuafly doing something
11 Q. Okay. When you spoke to Mr. Vaughan did you discuss 11 like that, then yes, I'd want to know.
12 his indictment? 12 Q. And sitting here today you cannot remember ever
13 A. I didn't ask him about that. 13 belng told that something [ike that occurred with Officer
14 Q. Did he bring it up? 14 Vaughan; correct?
15 A. No. 15 A. No.
16 Q@. Have you spoken to anybody about Ronald Vaughn's 16 Q. Now, Officer Vaughan was Involved In a shooting that
17 Indictment for forgery? 17 received a lot of publicity In St. Louls. Do you know about
18 A, No, 18 that shocting?
19 Q. You worked with Ronald Vaughan for a long time; 19 A. | believe so, yes.
20 correct? 20 Q. [twas Involving a man named Mansur, M-a-n-s-u-,
21 A. Yes. 21 last name Bail-Bey, B-a-l-l dash B-e-y. Are you familar with
22 Q. What was your resctlon to learning thet he was 22 the Mansur Ball-Bey shooting?
23 indicted for forgery? 23 A. Yes.
24 A. Iwas surprised. 24 Q. Were you there?
25 Q. Why were you surprised? 25 A. Yes, lwas.

9 (Pages 33 to 36)

Fax: 314.644.1334
www.alaris.us

WILLIAM OLSTEN 9/3/2021
Page 37 Page 39

1 Q. Tell me about that. 1 A. Correct.

2 A. Basically we were executing a search warrant on a 2 Q@. And let's be clear about this: This was an

3 residence and Detective Ronald Vaughén and his partner 3 accusation that the St. Louis Pollce Department killed a black

4 Detective Kyle Chandler were involved in a shooting with 4 man; correct?

5 Mansur Ball-Bey in the rear of that house. 5 A. Yes.

6 Q. Did you see the shooting? 6 Q@. Have you heard anything about Officer Chandler being

7 4. No, sir. I was In the front of the house. 7 taken off of street duty?

8 @. Did you see Mr. Ball-Bey with a weapon? 3 A. Yes.

9 A. No, I did not. 9 Q. What have you heard sbout Officer Chandler being
10 @. And you would agree with me that there were lats 10 taken off of street duty?

11 of -- there was lots of publicity around the shooting; 11 A. heard that he was put into Communications Division
12 correct? 12 and | just heard that he was — 1 don't know if he was
13 4. Yes. 13 terminated or resigned. Recently —
14 Q. That there were a lot of protests regarding the 14 Q. And—
15 shooting; correct? 15 A. —I've heard that he’s no longer working there.
16 A. Yes. 16 Q. And was this based on the fact that he might have
17 Q. That there were a lot of accusations made against 17 overdosed on a lot of dnigs?
18 Mr. Vaughan and Mr. Chandler that they had murdered 18 A. Yes.
19 Mr. Ball-Bey; correct? 19 Q@. So Kyle Chandler, the other guy cn the Mansur
20 4. 1|—I don't recall but that sounds possible. 20 Ball-Bey shooting, you've heard overdosed on illegal drugs and
21 Q. That there was a lot of — specific protests were 21 was suspended; correct?
22 about the two officers who shot Mr. Ball-Bey; correct? 22 MR. MILLIKAN: I'm just going to object to the
23 A. I-yeah, I belleve there was protests there. 23 extent that it lacks foundation.
24 Q. After the Mansur Ball-Bey shooting did anybody from 24 If you know, Bill, you can answer.
25 {nternal Affairs at the Pollce Department come and speak to 25 A. tt-
Page 38 Page 40

1 you? 1 Q@. (By Mr. Khazeell) Let me withdraw that. Let me

2 A. I don't believe so. 2 withdraw that,

3 Q@. After the Mansur BallBey shooting did anybody 3 Mr. Olsten, you Just testified that you've heard

4 Investigating any of the officers come and speak to you? 4 that information; right?

5 A. don't believe so. 5 A. Yes.

6 Q. Were you interviewed by the Force Investigation Unit 6 Q. Who did you hear It from?

7 after the shooting? 7 A. I don't remember. It's been a while.

8 A. It's possible. | may have been interviewed by them. 8 Q. Well, | mean, this heppened within the fast year.

9 Q. But you don’t remember sitting here. 9 You don't remember who you spoke to about one of your faw
10 A. Yeah, I don’t remember specifically but it sounds 10 enforcement colleaques overdosing on drugs? You don't
il like something that would happen. 11 remember that conversation?

12 Q. You don't remember ever, though, Intemal Affalrs 12 A. [don't remember who I spoke to about it, no, sir.

13 Investigating; correct? 13 Q. Do you remember the context of when you spoke to
14 A. [don't remember, no, sir. 14 somebody about this?

15 Q. Allright. You said he was with his partner Kyte 15 A. No, sir.

16 Chandler, correct? 16 Q@. Do you remember If it was over text message or

17 A. Correct. 17 email?

18 Q. Do you know what Officer Chandler is doing right 18 A. No.

19 now? 19 Q. Was it through Facebook Messaging?

20 A No, I don't. 20 A. No.

21 Q. Okay. When was the last time you speke to Officer 21 Q. Are you aware that as a Defendant In these lawsults
22 Chandler? 22 you have an obligation to preserve any documents relating to
23 A. It’s been a long time. I don't recall. 23 people Invoived in the Incident at issue In this case;

24 Q. But he was a — one of the other two people who was 24 correct?

25 Involved In this shooting; dght? 25 A Thatis—I'm sorry. Can you repeat that?

ALARIS LITIGATION SERVICES
Phone: 1.800.280.3376

Fax: 314.644.1334

WILLIAM OLSTEN

9/3/2021

www.alaris.us

Page 41 Page 43
i Q. If you have any evidence relating to what happened 1 when I said that.
2 on the night of the Busch Stadium protest or related to any of 2 Q. (By Mr. Khazaell) Allright. Let's go to Larry
3 the other people Involved, you reallze that you can't destroy 3 Wentzel. Are you aware Larry Wentzel Is on the Circult
4 that evidence; correct? 4 Attorney's exclusionary list?
5 A. Yes. I suppose. 5 A. i'm not aware of that.
6 Q. So one of the things !'m [ust going to ask you to do 6 Q. But you've been on the exctusionary list before;
7 is at the end of this deposition look back with your lawyer 7 correct?
8 and go through all of your documents and tell me if you have 8 A. Yes.
9 any documents relating to any of these questions I'm asking 3 Q. Why?
10 about the other officers there: Officer Vaughan, Officer 10 A. That's a great question, sir. We've never been
11 Chandler, and we're going to gat to some other ones. Okay? 11 informed of why | was on there.
12 A. Okay. 12 Q. When did you find out that you were on the
13 Q. So if you Just look back with Brian about that 13 exclusionary list? Before or after you were Investigated for
14 because we need to have those produced, 14 the case at the bar?
18 But you can — with that back there, Just to wrep 15 A. At where?
16 this up, you — your testimony Is that you had been informed 16 Q. Atthe bar. Yeah.
17 that Officer Chandlar [s being elther terminated cr 17 A. I don't remember when | was told.
13 disciplined because he was found with drugs and over-D'd on 18 Q. Okay. What happened when you were told — tell me
19 legal drugs; correct? 19 the circumstances of how you were aware you were on the
20 A. I'm not sure if they were illegal drugs but yes to 20 exclusionary list?
21 everything else. 21 A. | befieve it —{ don't know if it was just an email
22 Q. Okay. Oh, one other thing we didn't speak ebout, 22 that was sent out to the Department or if we were contacted
23 Mr. Olsten, and as you can tell | try to go very quickly 23 directly, but someone within the Police Department advised
24 through stuff, If at eny point you need a break Just let us 24 that 1 was on the list.
25 know. I'm probably hoping to take a break a little bit after 25 Q. And what did you do once you found cut you were on
Page 42 Page 44
1 10:00 o'clock In about 15 minutes. But if you need one 1 the list?
2 eariler than that let me know. Ckay? 2 A, I didn't do anything.
3 A. Yes, sir. 3 Q. You didn't call your union?
4 Q. Are you aware of any other malfeasance that either 4 A. [don’t remember if | did or not.
5 Officer Vaughan or Officer Chandler has ever bean accused of? 5 Q. Did you speak to — now, I'm not asking, [f you
6 MR. MILLIKAN: I'm going te object to the form of 6 spoke to your attomey, | do not want you to tell me If you
7 the question. It's vague. {i'm not sure what malfeasance 7 did speak to your attomey what your attorney told you.
8 means. 8 But did you speak to your attorney after that?
9 But if you understand the question, Bill, you can 9 4. it's possible. | honestly don't remember if!
10 answer. 10 called him or not.
11 A. Idon't— yeah, | don't recall any others. 11 Q. Do you remember taking any steps to figure out why
12 Q. (By Mr, Khazaeli) You con't recall them being 12 you were on the exclusionary list?
13 &ccused of any crimine! activity? 13 A. I may have made some phone calls or tried to reach
14 A. No. 14 out to the Circuit Attorney's Office, I don't remember
15 Q. Do you ever recall of them being accused of eny 15 exactly.
16 inappropriate activity? 16 Q. Did you take any steps to try to remove yourself
17 A. No. 17 from the exclusionary list?
18 Q. Okay. 18 A. (don't recall.
19 MS. DUNCAN: Javad, are you done with this personal 19 Q. Based on your knowledge what is the exclusionary
20 profile? Can you take that — 20 list?
21 MR. KHAZAEL!: Oh. Thank you. Yeah, Sorry. 21 A. Alist of officers that are not allowed to go into
22 MS. DUNCAN: Thank you. 22 the Circuit Attorney's Office.
23 MR. KHAZAELI: Sorry about that. Yeah, you gotta 23 Q. When you say not allowed to go into the Circult
24 look at our pretty faces. It's much better this way. 24 Attomey’s Office specifically what do you mean?
25 I'd like everybody to note that Abby rallied her eyes 25 A. That officers physically can't go into the Circuit

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

11 (Pages 41 to 44

Fax: 314.644.1334

)
WILLIAM OLSTEN 9/3/2021

Page 45 Page 47
1 Attomey’s Office to like apply on cases or testify or things 1 Q. Okay. Joseph Schmitt, how do you know Joseph
2 of that nature. 2 Schmitt?
3 @. And is this because the Circult Attomey’s Office 3 A. He's a co-worker or was a co-worker at the Police
4 has stated that they belleve that there's some Issues with the 4 Department.
5 officers; correct? 3 Q. What unit did he work for?
6 A. don't know. | guess —I guess, yeah, they don't 6 A. (believe he was just in the Third District.
7 like the officer, they think something's wrong with him or 7 Q. How wall did you know him?
8 what, I'm not sure. 8 A. I'm sorry?
9 Q. But you never — you never found out what that was 3 Q. How well did you know him?
10 regarding you? 10 A. We socialized occasionally outside of work.
il A No. 11 MR. KHAZAELI: All right, guys, I think this is
12 Q, But you can confirm sitting here today that you were 12 probably a good time to take a five-minute break.
13 told that you were on the exctusionary list at some point 13 THE VIDEOGRAPHER: We're going off record at
14 correct? 14 9:56 a.m,
15 A Yes. 15 (Whereupon, there was a break in the proceedings
16 Q. Did that affect your day-to-day Job other than going 16 from 9:56 a.m. to 10:07 a.m.)
17 into the Circuit Attorney's Office to apply for charges? 17 THE VIDEOGRAPHER: Back on the record 10:07 a.m.
18 A. That would be the only thing that would change. 18 Q. (By Mr. Khazaet)) Okay. Mr. Olsten, I just want to
19 Q. Did Sergeant Bartlett come and tell you that there 19 go aver just a few — to summarize a few things.
20 was some issue? 20 So we just spoke ebout criminal charges against
21 A No. 21 Officer Vaughan; correct?
22 Q. Did he change your day-to-day activities? 22 A. Yes.
23 A No. 23 Q@. And we spoke about an overdose and a move to
24 Q. Did he altow you to do every single thing the exact 24 terminate Officer Chandter; correct?
25 same way as before? 25 A. Yes.
Page 46 Page 48
1 A. Yes. 1 Q@. And we spoke ebout Officer Wentzel being on the
2 Q. Did IAD ever come and Investigate and speak to you 2 exctusionary list correct?
3 about your time on the exclusionary list? 3 AL Yes.
4 A No. 4 Q@. And we spoke ebout Officer Zajac being alleged to
5 Q. Did any police officer ever come and Investigate and 5 have used drugs; correct? \
6 talk to you about you baling on the exclusionary Ist? 6 AL Yes. '
7 A No. 7 Q@. And we spcke about you belng on the exclusionary
8 Q. Okay. Sitting here today you have no knowledge 8 Ist correct?
9 about Larry Wentzel being on the exclustonary list; correct? 9 A. Yes.
10 A. No, I don't. 10 Q. And we'll talk about It more but at separate times
11 Q@. When you worked with him snd you were out In the 11 you were criminally charged Involving two separate Incidents;
12 fleld with him were you ever informed by any supervisors that 12 correct?
13 he was on the exclusionary list? 13 A. Yes.
14 A. No. 14 @. Do yeu recall Intema! Affairs ever — I'm sorry.
15 Q. So lf you had gone En to do a bust with Larry 15 Take a step back.
16 Wentzel you would have had no Idea that there were Issues with 16 And all of the people we Just spoke about were
1? him presenting evidence to the Circuit Attornay’s Office? 1? people who were on the Special Operations Team tn 2017;
18 A. No. 18 correct?
19 Q. Did other peopte on your team know that you were on 19 A. Yes.
20 the exclusionary ist? 20 Q. And In addition to those things I spoke to you
21 A. I'm not sure if they did of not. 21 about, Officers Chandler end Vaughan were involved in the
22 Q. So there's a chance that you could have gone In to 22 shooting of Mr. Bell-Bey; correct?
23 do a bust and other people on your team would net have known 23 A. Correct.
24 that there was an Issue; correct? 24 Q. At any point while you were on the Special
25 A. It's possible. 25 Operations or Narcotics Team did anybody from Internal Affalrs

12 (Pages 45 to 48}

ALARIS LITIGATION SERVICES
www.alaris.us Phone: 1.800.280.3376 Fax: 314.644.1334

WILLIAM OLSTEN 9/3/2021
Page 49 Page 51
1 come and speak to you about the culture of the team? 1 that’s what | had that night but it's typically what we drove.
2 A. No. 2 Q@. Okay. So tell me ebout what was going on that day.
3 Q. Did anybody come and talk to you about the 3 What were you doing that day? ,
4 activites of the team? 4 A. Again, we were just on the outskirts of the city if
5 A. No. 5 Just on stand-by. 1
6 Q@. Old anybody come end talk to you about any 6 Q. Okay. Do you remember any Incidents that day? f
7 malfeasance that the team was involved In? 7 A. No,
8 A. No. 8 Q@. Just me one second.
9 Q. Did anybody from the criminal untt of the Police 9 MR. KHAZAELI: Can we go off record for a minute?
10 Department come and talk to you about any investigations into 10 THE VIDEOGRAPHER: Going off recard at 10:12 a.m.
11 the Special Operations Team? 11 (Whereupon, there was a break in the proceedings
12 A. No. 12 from 10:12 a.m. to 10:13 a.m.)
13 Q. Did anybody from the crimine! side of the Police 13 THE VIDEOGRAPHER: Back on the record, 10:13 a.m.
14 Department ever come and talk toe you ebout eny malfeasance 14 Q. (By Mr. Khazaelil) Do you know an Officer Jarred
15 alleged regarding the Specia! Operations Team? 15 Thacker?
16 A. No. 16 A. Yes.
17 Q. Did anybody from IAD ever come and talk to you about 17 Q. How do you know Officer Thacker?
18 net the team as a whole but about any malfeasance perpetrated 18 A. We worked together in the Special Operations
19 by any member of the Special Operations Team? 19 Division,
20 A. No, 20 Q. Okay. How long did you work with Officer Thacker?
21 Q. Did anybody from the criminal unit of the St. Louis 21 A. I don't remember how fong he was down there, if he
22 Police Department ever come and talk to you about any 22 was there the whole time or just — I'm not sure but probably
23 potential malfeasance by any member of the Special Operations 23 a couple years at least.
24 Team? 24 Q. Abeut how many people were on the Special Operations
25 4. No. 25 Team at that time?
Page 50 Page 52
1 Q. [know that you worked this protest at — for the 1 A. Oh, there was — our specific team had maybe eight
2 Jason Stockley case. Did you work any other protests? 2 people but Special Operations as a whole probably had 20 to 30
3 A. believe so, yes. 3 I would guess.
4 Q. Were you working at City Hail the day of the verdict 4 Q. Let's go through the eight peopte. I'm going to ask
5 coming down? 5 for each of these officers tell me {f they were on your team
6 A. I don't believe | was. I don’t remember, though, 6 or if they were on genera! Specie! Operations. Okay?
7 Q. Were you working two nights later, that's the night 7 A Yes.
8 that Officer Hail was beaten at what we like to call the 8 Q. Ronald Vaughan.
9 kettling, the mass arrest, st Washington and Tucker? Were you 9 A. My team.
10 working either of those nights? 10 Q. Kyte Chandler.
11 A. Iwas working that night, yes. 11 A My team. !
12 Q. Where were you working on that night? 12 Q. Officer Zajac. H
13 A. So that night we were in our cars assigned as like 13 A My team.
14 outer perimeter for the city, just basically ~ 14 Q. Officer Wentzel. 7 |
15 Q. When you say we, who is we? 15 A. My team.
16 A. Special Operations. 16 Q. Officer Thacker.
17 Q@. Okay. Keep going. 17 A My team.
18 A. We weren't down there for the kettling but we were 18 Q. Who else was on your team other than those people?
19 kind of on the outskirts of the city just on stand-by to 19 A. James Bain, Marcus Alston, Matt Manley. And I'm
20 respond if we needed to. 20 trying to think of who else.
21 Q. Okay. What kind of car were you driving? 21 Q@. While you're thinking, Alston is spelled 4
22 A. Anunmasked police car. 22 A-ts-t-o-n?
23 Q. What color was tt? 23 A. Yes, sir, That's all | can remember really. i.
24 A. I don't remember exactly which car I had that night, 24 Q@. Are you aware of public reports about Officer |
25 but we typically drove a dark gray Mazda. I'm not sure if 25 Thacker being suspended because of an allegation that he

ALARIS LITIGATION SERVICES
Phone: 1.800.280.3376

www.alaris.us

13 (Pages 49 to 52) |

Fax: 314.644.1334

WILLIAM OLSTEN 9/3/2021

www.alaris.us

Page 53 Page 55
1 sexually assaulted a woman? 1 A. Daily.
2 A. I didn't hear that about Thacker. 2 Q._ It's fair to say that you knew each other well?
3 Q. But you've heard that about other officers; haven't 3 A. As much as you can know a work colleague | guess.
4 you? 4 Q. Ina professional context correct?
5 A. |heard that about another officer, yes. 5 A. Yes.
6 Q. What officer? 6 Q. You saw each other all the time?
? A. Leshaw, | think, Leshaw | belleve is his last name. 7? A. At work, yes.
8 Q@. Lesthaw. 8 Q. Yesh. You saw each other in your vehicles afl the
9 A Fm not sure how you spell it. 3 time; correct?
10 Q. (was just telling the Court Reporter that's how you 10 A. Isuppose.
11 spell it. iL Q. Are you aware that Officer Thacker has identified
12 A. I'm sorry. 12 you as the driver of the vehicle that drove through the crowd?
13 Q. Ithink. (could be wrong. Okay. 13 A. No.
14 So let’s go back to the night of the Luther Hail 14 Q. Did you drive a vehicle through a crowd of people at
15 protest. What did you see? 15 the — durtng the protest on September 17th?
16 A. I didn't see anything. | was in my car on the 16 A. Not that! recall, no.
17 outskirts of the city. 17 Q@. Did you drive a vehicle at high speed backwards
18 Q. Was your car ever within the protesters, near the 18 through a group of people?
19 protesters? 19 A. Not that! recall.
20 A. I don't believe so, 20 Q. And this is a video that was tweeted out by the St.
21 Q. Do you have any recollection of your car being near 21 Louis Police Department, Nobody ever asked you any questions
22 protesters? 22 about that?
23 A No. 23 A. No. H
24 @. Has anybody Informed you that there's a video of an 24 Q@. You would agree with me that there aren't many :
25 unmarked police car driving through a crowd of people at high 25 unmarked Special Operations cars; right? j
Page 54 Page 56
1 speed going backwerds? Do you know this video? 1 A, There's quite a few, ;
2 A. From that protest? 2 @. How many would you say? li
3 Q. From that protest. 3 A. They change them out pretty frequently. But, |
4 A, No, I dan't. 4 mean, there's got to be 20 or 30 probably.
5 Q. You've never seen that video? 5 GQ. But you also will agree with me that there are only
6 A No. 6 about 20 people who are on Special Ops at that point right?
7 @. Nobody from LAD has ever come end spoke to you ebout 7 A. 20 to 30, yeah.
8 that video? 8 Q. So If the Police Department was trying to figure out
9 A. No, 9 who drove that car they could have spoken to 20 to 30 people;
10 Q. Nobody from the Pollce Department has ever come and 10 correct?
11 spoke to you about that video? 11 A. Yes.
12 A. No. 12 Q. Did anybody ever come and ask you about whether or
13 Q. And the reason this video's important is there are a 13 not you were driving that car?
14 tot of pecple who allege that this officer driving through the 14 A, No,
15 crowd and almost hitting pecple [s what precipitated a lot of i5 Q. Let's go to the Incident where you were criminally
16 the property damage that night. Do you know anything about 16 charged and | belleve the case was dismissed Involving a
17 that? 17 shooting at Bomber O'Brien's. And that's
18 A. No, sir. 18 O-ap phe-B-r-i-e-n | bell Let me look that up.
19 Q. Are you aware that — well, how tong did you work 19 Tell me what happened that night.
20 for Thacker? 20 MR. MILLIKAN: I just want to object. Or well, I'm
21 A. Work with Thacker? 2h going to actually instruct you, Bill, to or I'm going to
22 Q. Yeah. 22 recommend that you do is assert your Fifth Amendment
23 A. Probably a couple years. 23 privilege in that matter.
24 Q. And when you worked with Officer Thacker how often 24 MR. KHAZAELI: Isn't that case dismissed? Was it
25 would you guys see each other? 25 dismissed with —

14 (Pages 53 to 56) |

ALARIS LITIGATION SERVICES
Phone: 1.800.280.3376

Fax: 314.644.1334
Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 15 of 29 PagelD #: 1979

WILLIAM OLSTEN 9/3/2021

Page 57 Page 59
1 MR. MILLIKAN: It was dismissed — 1 All right? What do you recall about how you ended up down at
2 MR. KHAZAELI: Let's go off, let's go off the record 2 the protest?
a for a second. 3 A. | believe we were just assigned to be down there
4 MR. MILLIKAN: Sure. 4 that evening.
5 THE VIDEOGRAPHER: Going off record 10:20 a.m. 5 Q. Do you remember by who?
6 (Whereupon, there was a break in the proceedings 6 A. I'm not sure who would have, who would have told us
7 from 10:20 a.m. to 10:20 a.m.) 7 to be down there.
8 THE VIDEOGRAPHER: Back on the record, 10:20 a.m. a Q. Had you received any specific training about how to
9 Q. (By Mr. Khazaeli) Mr. Olsten, before we went on a 9 deal with large protests of this caliber previous to being
10 quick break your attorney advised you to not answer questions 10 assigned down there?
11 regarding this incident and to assert your First Amendment 11 A. | don't recall.
12 right — I'm sorry, your Fifth Amendment rights. Can you tell 12 Q. Were you ever assigned to the Civil Disobedience
13 me what you're going to do? 13 Team?
14 A. I'll be listening to my attorney and asserting my 14 A. No,! was not.
15 Fifth Amendment right. 15 Q. Did you ever go through a civil disobedience
16 Q. Okay. We'll move on. 16 training?
17 MR. KHAZAELI: Now, Brian, I'm going to ask some 17 A. | was never assigned to it and | don't believe I was
18 periphery questions about this. Okay? And | think these 18 trained in it either.
19 should be fine but let me know if you've got problems 19 Q. Back in the Academy we talked about how you had some
20 with them. Okay? 20 Constitutional training. Do you recall ever having any
21 MR. MILLIKAN: Okay. 21 training in the Academy about how to deal with large scale
22 Q. (By Mr. Khazaeli) Without telling me what was 22 protests?
23 discussed were you ever — did Internal Affairs ever come and 23 A. It's possible but | don't remember exactly in the
24 speak to you regarding the Bomber O'Brien Incident? 24 Academy, it's been so long.
25 A. I don't believe — I don't know if it was Internal 25 Q. Do you remember any point during your ten plus year
Page 58 Page 60
1 Affairs or the Force Investigative Unit but | spoke to someone 1 police career of ever having any training on how to deal with
2 down there. 2 large scale protests?
3 Q@. Do you know who you spoke to? 3 A. | don't recall.
4 A. | don't remember. 4 Q. Do you recall anybody ever stating any kind of
5 Q. And in —time-wise how soon after the shooting did 5 apprehension about having officers, Detectives Vaughan and
6 you speak to somebody? 6 Chandler, at a protest that is a protest about the shooting of
7 A. I think it was relatively quick. | don't remember 7 a black man?
8 exactly but it was probably within a week or two | would a A. I don't recall that, sir.
9 think. 9 Q. Imean, we spoke earlier: They were targets of a
10 Q. And that's just the general investigation whenever 10 previous protest; correct?
11 there's a shooting; correct? 11 A. Yeah, it's possible. | don't know if they were
12 A. Yes. 12 exactly targets or just the Police Department as a whole.
13 Q. Let's put that aside. Other than that did anybody 13 Q. But they were the ones who shot the person who was
14 from Internal Affairs ever come and speak to you about what i4 the person that the protests were about; correct?
15 occurred during that event? 5 A. Correct.
16 A. | don't, | don't believe so. 16 Q. You don't know of any other officers that shot
17 Q. Did anybody from the Police Department come and 17 Mr. Ball-Bey other than Officers Chandler and Vaughan;
18 speak to you about what occurred at that event? 18 correct?
19 A. Like | said, | think it was Force Investigative Unit 19 A. Correct.
20 that | spoke with, 20 Q. Did anybody say, hey, it's probably not a good idea
21 Q. Other than that time just a week or two after the 21 to have these guys down here?
22 event did anybody else come and interview you about the event? “ A. I don't recall if they did or not but, you know, I'm
23 A. I don't think so. 23 not-sure,
24 @. Allright. We can move on. 24 Q. |mean, you can understand why I'm coming here.
25 Let's go to the night of the Busch Stadium incident. 25 These guys are either people who killed a black man improperly

15 (Pages 57 to 60)

ALARIS LITIGATION SERVICES
www.alaris.us Phone: 1.800.280.3376 Fax: 314.644.1334
WILLIAM OLSTEN 9/3/2021

Page 61 Page 63
1 or they were unfairly targeted for accused of doing such a 1 Q. That includes Officer Zajac; correct?
2 thing. Right? 2 A. Yes.
3 A Yes. 3 Q. That includes you; correct?
4 Q. One of these things; right? 4 AL Yes.
5 MR. MILLIKAN: Hold on. I'm going to abject to 5 Q. That Includes Ronald Vaughan; correct?
6 that. | think it — it lacks foundation. | mean, 6 AL Yes.
7 there's no evidence in the record that would suggest that 7 @. Do you know ef any IAD Investigations, did anybody
8 their names were even out in the public. 8 ever speak to you about the fact thet Sergeent Bartlett Is
9 MR. KHAZAELI: I mean, the names were released. 9 managing this team?
10 Q. (By Mr. Khazaeli) But let's Just: Assuming thelr 10 A. No.
11 names were cut in the public. Well, forget assuming thelr 11 Q. |mean, from what we've talked about so far, we're
12 names were out in the public. They themselves would have 12 telking about you, Vaughan, Chencler, Wentzel, Zajac, Thacker.
13 known that they were the ones who shot Mr. Ball-Bey; correct? 13 That's six people that were on the team. Right?
14 A. Yes. 14 A. Yes.
15 Q@. So they would know either if they property shot 15 Q. And you have named three other peoptle; right?
16 Mr. Ball-Bey or [mproperly shot Mr. Bail-Bey; correct? 16 A. Yes.
17 A Yes. 17 Q. Alston, Bain, and Manley; correct?
18 Q. And if the protests were about a shooting that they 18 A. Yes.
19 thought was proper, It would have been fair to say that they 19 Q@. So six of the nine pecple that Sergeant Bartlett
20 would have thought the criticism was unfair; right? 20 supervised that you can remember have had some allegation of
21 A Yes. 21 malfeasance, mejor malfeasance; correct?
22 Q. Okay. So did anybody at all in the Specta! 22 A. I don't -1I don't believe -
23 Operations Team say why are these two guys out here? 23 Q. ff everything — if everything that I told you today
24 A Not that recall. 24 Is true; right?
25 Q. Do you ever recall seeing Officer Vaughan act 25 A. It—yes.
Page 62 Page 64 |
1 Improperly? 1 Q. Allright. And you know of no investigations [nto a
2 A. No. 2 Sergeant who six out of the nine people under him have had
3 Q. Did you ever see Officer Chandler act improperty? 3 such allegations made? Nobody ever spoke to you about that;
4 Never, ever? 4 correct?
5 A. No. 5 A. No,
6 Q. And who was in charge of you guys that night? 6 Q. What training have you received In de-escalation?
7 A. Our immediate supervisor was Eric Bartlett who is a 7 A, What training?
8 Sergeant. 8 Q. Yes.
9 Q. And Eric Bartlett would have been the person who was 9 A. Just what we receive In the Academy.
10 In charge of Jarred Thacker, correct? 10 Q@. Do you recall having any followup training regarding
11 A. Yes, 11 de-escalation after you left the Academy in 20077
12 Q. Who was accused of raping a woman. So Officer — 12 A. It's possible. i
13 I'm sorry, Sergeant Bartlett would have been the person who 13 Q@. Do you recall any sitting here today?
14 was In charge of Officer Wentzel; correct? 14 A. Idon't remember, We, | mean, we have to do several
15 A. Yes. 15 tainings every year to keep our POST license and it's always
16 Q. Who Is, as you've testified, like — In the process 16 different so I'm not sure exactly.
V7 of possibly being terminated for dosing on drugs; ct? 17 Q. Tell me what you — tell me sitting here today what
18 A. No, not Officer Wentzel. 18 your — what your knowledge Is about de-escalation.
19 Q@. Serry. Sorry. Sorry. Officer — let me strike 19 A. My knowledge of it is to verbally try to de-escalate
20 that. Officer Chandler, correct? Let me strike all that. 20 a volatile situation before anything else.
21 Officer - Sergeant Bartlett would be In charge of 21 Q. Why are you trained to verbally try to de-escatate a
22 Officer Chandler who fs currently In the process of possibly 22 volatile situation? H
23 being terminated for overdosing on drugs; correct? 23 4. To avoid a physical confrontation.
24 A. Sergeant Bartlett would have been in charge of our 24 Q. Talk to me about the levels of deescalation.
25 whole team that night. yes. 25 A. The levels of de-escalation?

www.alaris.us

16 (Pages 61 to 64)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334

WILLIAM OLSTEN 9/3/2021

www.alaris.us

Page 65 Page 67
1 Q. Yep. Have you ever heard of mere presence as a form 1 backwards with — my arm was hooked inside of one of the
2 of de-escalation? 2 suspect's arms. So | was walking him backwards but kind of
3 A Yes. 3 being pulled at the same time as they were escorting him.
4 Q. Tell ma what that means. 4 Q. Correct. But In the video we see two other officers
5 A. Itmeans Just the presence of being there as a 5 walk near you end kind of get In between you and the person
6 police officer, as an authority figure. 6 who's cursing you; correct?
7 Q. Allright. Have you heard of verbal uses of 7 I mean, | can show you the video if you want, but do
8 de-escalation? 8 you recall seeing that?
9 A Yes. 9 A. Idon't recall seeing that, no.
10 Q. Tell me about that. 10 Q. But you'll agree with me that eventually you moved
11 A. It's verbally trying to de-escalate the situation. 11 the suspect towards an area away from the protesters; correct?
12 Q. And what— sorry. | think you already answered 12 A. Yes.
13 this but I didn't write it down: What's the reason that you 13 Q. We see you leave the video; correct?
14 verbally try to do stuff [ike that? 14 A. Yes.
15 A. To avoid a physical confrontation. 15 Q. And It's fair to say at that point - well, what was
16 Q. Okay. Is ft true to say that if you use 16 going through your mind when you told the citizen who was
17 antagonistic language that It would possibly Increase the 17 cursing you out to come and fuck me up then? What was going
18 chances of a physical confrontation? 18 through your mind?
19 A. It's possible, 19 A. Honestly | don't remember what was going through my
20 Q. Have you reviewed any videos of the incident that Is 20 mind.
21 at question In the Busch Stadium event? 21 Q._ It’s fair to say that you weren't calm at that
22 A Yes, | have. 22 point, correct?
23 Q. And when was — when did you review these? And 23 A. It was a hectic situation at that time.
24 don't — tf you did ft with your attorney I do not want you to 24 Q. Right. {twas a hectic situation where you say come
25 tell me what you spoke about But when did you review these 25 on and fuck me up then, you leave the area, you get away from
Page 66 Page 68
L videos? 1 the protesters; correct?
2 A. It would have been before the criminal trial with my 2 A Yes.
3 attomey. 3 Q. Then you choose to come back to the protesters;
4 Q. Okay. Was that the last time you reviewed them? 4 correct?
5 A Yes. 5 A. No. |just-— (stopped. I didn't come back to
6 Q. And you can hear things tn the video; correct? 6 them. | stopped at a — there was like a makeshift fence
7 A Yes. 7 there where we handed off the arrested subject to ather
8 Q. And a member of the public was cursing you out 8 officers and | stopped there.
9 during the video; corect? 9 Q. Okay. Then what heppened?
10 A. Yes. 10 A. Then—-
11 Q@. And you sald -- you gestured to that person and say 11 Q. I'msorry. Let's take that — so there was a fence
12 well, come on, fuck me up then; correct? 12 behind you; correct?
13 A. Yes. 13 A. Yes.
14 Q. Is that de-escalation? 14 Q. And behind that fence were other law enforcement
15 A. Not necessarily. 15 people; correct?
16 Q. What scenarto would telling a person to come and 16 A. Yes,
17 fuek me up then be de-escalation? 17 Q@. There was squad cers back there; correct?
18 A !'mnot sure, sir. 18 A. I'mnot sure if there were squad cars or not
19 Q. Can you think of any scenario where that would be 19 Q. Weil, there were vehicles where you could take a
20 de-escalation? 20 suspect away; correct?
21 A. Not off the top of my head. 21 A. believe so.
22 Q. And in the video we see two African-American 22 Q. And you handed the suspect to other law enforcement
23 officers kind of push you to the side and move you away from 23 correct?
24 the area; correct? 24 A. Yas, I think so.
25 A. No, that's not true. | was actually walking 25 Q@. And behind that barricade is where the law — some

17 (Pages 65 to 68)

ALARIS LITIGATION SERVICES
Phone: 1.800.280.3376

Fax: 314.644.1334 -
Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 18 of 29 PagelD #: 1982

WILLIAM OLSTEN 9/3/2021

Page 69 Page 71
1 law enforcement was; correct? 1 A. Not that | recall.
2 A. Yes. 2 Q. Do you recall ever being trained on trying to
3 Q. And there was law enforcement standing next to you; 3 minimize the effect of pepper spray to not hit other people
4 correct? 4 that you are not targeting?
5 A. Yes. S A. | believe that's in the special order.
6 Q. In fact, Officer Zajac Is standing directly to your 6 Q. Okay. Who were you targeting with the pepper spray?
7 left; correct? ir A. Amir Brandy.
8 A, At that time I don't believe Zajac was standing to 8 Q. So you were targeting one person?
9 my left. The only one | remember standing next to me was 9 A. | believe | was targeting one person but also there
10 Sergeant Bartlett. 10 was a large crowd, | was trying to get them to back up as
11 Q. Okay. Sergeant Bartlett was near you. And in that i well.
12 area at the time Major Hayden was right there; correct? 12 Q. You were trying to get them to back up. Were you —
13 A. Yes, he was in the area. 3 after you pepper sprayed Mr. Brandy did you make any attempts
14 Q. And there were other members of the Special 14 to effectuate any arrest?
IS Operations Team; correct? 15 A. No,I did not.
16 A. Yes. 16 Q. Okay. So you were trying to get the crowd to back
17 Q. And there were other members of the St. Louis Police 17 up?
18 Department; correct? 18 A. Yes.
Tg A. Yes. 19 Q. Previous — immediately previous to spraying the
20 Q. And a lot of them were behind the fence directly 20 crowd did you give any verbal warnings?
at behind you; correct? 2E A. Several.
22 A. Some of they were behind the fence | believe, yes. 22 Q, And those would be caught on video, though; correct?
23 Q. And some of them were in front of you, some of them 223 A. Yes. On the video you can hear me saying get back
24 were to your left; correct? 24 several times.
25 A. |remember Bartlett being to my left but apart from 25 Q. Did anybody else attempt to make an arrest after you
Page 70 Page 72
1 that I'm not sure where everybody was. They were mostly to 1 pepper sprayed these people?
2 the back. 2 A. No.
3 Q. And | could show you the video right now but I'll 3 Q. Did you make, did any — did you make any attempts
4 just tell you that Officer Zajac is within like two feet of 4 to decontaminate the people?
5 you to your left. 5 A. No.
6 A. Okay. 6 Q. Do you know of any specific St Louis Police
7 Q. Okay. When you use pepper spray how are you trained 7 policies about decontaminating people who have been pepper
8 to use it? What are you supposed to do with it? 8 sprayed?
9 A. Point it at someone's face and spray in a sweeping 9 A. lt applies to subjects who are in custody, yes.
10 motion. 10 Q. After you pepper sprayed people did you retreat?
11 Q. When you say a sweeping motion, how much of a 11 A. No.
12 sweeping motion? 12 Q. Did you go to try to find a safer location?
13 A. | don't know exactly how many feet. 13 A. No.
14 Q. Well, if there's somebody let's say — you know, In 14 Q. Were you trying to extract yourself from the area?
15 the video you see Mr. Brandy probably about six or seven feet 15 A. No. It had the desired effect to back the crowd up.
16 in front of you; right? 16 Q. So your purpose for this was to just back the crowd
Ee A. Yes. Tz up; correct?
18 Q@. How much based on your knowledge were you supposed 18 A. Back the crowd up and stop the threat of Amir
19 to sweep that pepper spray? 19 Brandy.
20 A. Enough to get the desired effect. 20 Q. What threat was Amir Brandy? | mean, in the video
21 Q. Did you receive any training about not sweeping it 21 you see him cursing but what was he doing other than cursing?
22 to that — far enough that you start hitting people four or 22 A. Well, it was his manner of cursing were actual
23 five, six feet away? 23 verbal threats. He kept saying that he was going to assault
24 A, Not that! recall. 24 me. And despite being told to get back several times he
5 Q. So you've received no training regarding that? Z5 continued to advance on me.

www.alaris.us

18 (Pages 69 to 72)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334
Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 19 of 29 PagelD #: 1983

WILLIAM OLSTEN 9/3/2021

Page 73 Page 75
1 Q. So is it your testimony that at the point that you 1 A. The crowd was angry. A lot of screaming, yelling.
2 sprayed him he was advancing on you? 2 There was some items thrown. | got hit with a bottle at some
8 A Yes. 3 point during this event.
4 Q. And in fact what Mr. Brandy was saying was, if you 4 Q. Before or after the spray was used?
5 spray me | will fuck you up; correct? 5 A. [believe — it might have been after.
6 A. No. He was saying he was going to fuck me up pretty 6 Q. Before the spray was used you said that the crowd
7 much the entire time he was yelling at me. 7 was yelling and angry. What else was going on?
8 Q. Um-hmm. Did you ever see him — what were In — 8 A. They were also ignoring commands to get back. They
9 what was in Mr. Brandy's hand when he was saying this? 9 kept advancing on my position.
10 A. | believe his phone was. 10 Q. And your position is that you did not move towards
11 Q. Did he have any weapons? 11 the crowd; correct?
12 A. Not that | saw, 12 A. Once | got to the spot where the arrested subject
a3 Q._ Did he lift his arms in a striking manner like he 13 was relinquished to other officers | stopped at that -- at
14 was going to punch you? 14 that spot.
15 A. Idon't recall, aS Q. And you took no — after you handed off the subject
16 Q. So there was making what you call verbal threats. 16 you took no forward movements; correct? You handed off the
17 What physical attempts did he make to make physical contact 17 subject and you froze where you were?
18 with you? 18 A. Handed off the subject and stopped, yeah, close to
19 A. Again after ignoring several commands to get back he 19 that fence there. | didn't charge the subjects or anything.
20 kept advancing on me. 20 Q. Did you ever take any steps towards anybody?
21 Q. So he was advancing on you. 21 A. | don't recall taking any steps to anybody.
22 A. Yes. 22 Q. Okay. You have a cross-claim in this lawsuit. Can
23 Q. And you would expect that to be seen on the video; 23 you tell me what that's about?
24 correct -—- 24 MR. MILLIKAN: I'll abject to the extent — to the
25 A. Yes, 25 extent you're asking for a legal conclusion.
Page 74 Page 76
1 Q, —that he was advancing? 1 Other than that, if you understand what the
2 Are people allowed to curse at police officers? 2 cross-claim is, Bill, go ahead and answer.
3 A. Yes, they are. 3 THE WITNESS: No. | would just refer to you, Brian,
4 Q. Are people allowed to criticize police officers? 4 if you wanted to explain the cross-claim, but! don't
5 A. Yes, they are. 5 have the particulars of that.
6 Q. Are people allowed to make verbal threats to police 6 Q. (By Mr. Khazaelli) | believe that one of your
7 officers? 7 allegations in your cross-claim is that everything that you
8 A. No, they're not. 8 were doing that night you were doing because that's how you
9 Q. Why? 9 were told to do things; correct?
10 A. Well, for the same reason you can't verbally threat 10 A. It's possible, yes.
11 anyone. 11 Q. That wasn't that you are -- that you were acting
12 Q. So after you pepper spray the crowd what do you do? 12 rogue. | think — I'm going to try to pull it, give me a
13 A. Then | just—1| stand there and additional officers 13 second. I'm going to search for this while this is going on
14 respond and arrive on scene, and | believe the CDT team was 14 in the background.
an requested and we extracted ourselves after the CDT team was 15 But in this case —
16 there, 16 MR. MILLIKAN: If | could just interrupt, the
Le Q. Before you use your pepper spray did you give any Ly language says in the course and scope of his duty if
18 commands directing people specific directions that they need 18 that's what you're looking for.
19 to go to remove themselves from the area? 19 MR. KHAZAELI: Thanks, Brian.
20 A. I just told them to get back. 20 Q. (By Mr. Khazaeli) You've made the allegation that
21 Q. Did you point out any routes of egress that they 21 everything that you did was within the course and scope of
22 must take? 22 your duty; correct?
23 A. No, I did not. 22 A. Yes.
24 Q. Other than Mr. Brandy doing the verbal threats what 24 Q. What does that mean to you?
25 else was going on? 25 A. It means | followed the Department's policies and

www.alaris.us

19 (Pages 73 to 76)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334
WILLIAM OLSTEN 9/3/2021

Page 77 Page 79
1 procedures as they're outlined. 1 from that. Until reviewing this document I wasn't aware that
2 Q. Do you know what the term ratified means? 2 that ever even happened.
3 A No, | don't. 3 Q. Okay. But what happened? What was it about? What
4 Q. So that means that sometimes your bosses can do 4 was the email?
5 things that will lead you to believe that what you did was 5 A. Ihave no idea.
6 proper. Right? 6 Q. You don't recall ever being a part of an
7 So as an example, tet's say you arrest somebody and 7 investigation in 2010 regarding an email?
8 afterwards they give you a commendation. That tells you you 8 A. Notat all.
9 did a good job; correct? 9 Q. Nobody ever came to speak to you about this?
10 A. Yes. 10 A Nope.
11 Q. Right. After you pepper sprayed the crowd what did 11 Q. So what you're telling me ts that there's something
12 Sergeant Bartlett say to you? 12 In your IAD file right here that you don't recall LAD or
13 A I don't remember him saying anything to me. 13 anybody ever talking to you about?
14 Q@. Do you remember him asking you what happened? 14 A. Connect
15 A No. 15 Q. And you have no knowledge of a written reprimand on
16 Q. Do you remember him at any point — at any point 16 May 18th, 2011?
1? questioning you as to why you did that? 17 A. No, Again, until seeing this form | had no idea
18 A, | don't remember him asking me that, no. 18 that that was even in there.
19 Q@. Did he ask you how you were doing, were you doing 19 Q. Well, what's your reaction to the fact that It looks
20 okay? Do you remember any conversations with your direct 20 like you got a written reprimand that nobody told you about?
21 supervisor after this happened? 21 A. My reaction to that is that they either just put it
22 A. | don’t remember what we discussed. 22 in there or it's an error or where they just gave these out to
23 Q. Do you remember having any discusston at all? 23 a lot of people and didn't tell anyone,
24 A. I don't remember. 24 Q. Right. But! mean, do you have a — are you okay
25 Q. Based on everything that happened that night do you 25 with that? Like do you have a reaction to that? Does it
Page 78 Page 80
1 believe that your actions were consistent with what your 1 bother you? How do you feel about the fact it looks like you
2 supervisors wanted you to do? 2 have a written reprimand In your file that you knew nothing
3 A Yes,| do. 3 about?
4 Q, That you were acting exactly how you were trained to 4 A. I'm indifferent to it. | don't work there anymore.
5 act as a St. Louls police officer? 5 Q. tf you still worked there how would you feel about
6 A. Yes, 6 that?
7 Q. I'm going to put up a different document right now. 7 MR. MILLIKAN: I'll abject. [t calls for
8 Okay? This Is your snapshot. So this is previously marked as 8 speculation.
9 City's 00001 through 4 In Aldridge. This Is your IAD history. 9 Go ahead and answer if you know.
10 Okay? 10 A. [don't know, Again —
11 A. Okay. 11 Q. (By Mr. Khazaeli) What I'm trying to get to -1
12 @. Now, this ts Just what shows up In your IAD stuff. 12 mean, I'll Just tell you this: | worked in the government for
13 I'm assuming that you've had other compleints that don't show 13 along time. If had something In my file that was negative
14 up so I'm golng to ask you about those generally. Okay? So 14 about me that nobody told me about and It showed up It would
15 I'm going to share the screen. 15 bother me.
16 And I'm not marking these as exhibits Just because 16 I guess my question is: Does it bother you that
17 they're previously, you know, they've already been, But let's 17 there Is some negative complaint ageinst you that you knew
18 go through here. 18 nothing about that you had no chance to defend yourself on?
19 Your first complaint against you is In 19 A. Yeah, | guess it does.
20 September {6th, 2010 where you were accused of misusing 20 Q. Let's go to this December 31st, 2010. It says a
21 Department computer systems and you received a written 21 DARB was sustained. What's a DARB?
22 reprimand, [t says numerous employees forwarded a chain 22 A. [have no idea.
23 letter through the Department's email system. What was thet 23 Q. Doyou know —
24 about? 24 MR. MILLIKAN; Javad, it's a Department Accident
25 A. (don't even remember receiving a written reprimand 25 Review Board is what that stands for.

www.alaris.us

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

20 (Pages 77 to 80)

Fax: 314.644.1334
WILLIAM OLSTEN 9/3/2021 |

Page 81 Page 83 h

1 Q. (By Mr. Khazaeli) Okay. And | was going to get to 1 complaint date but it's from November 4th, 2015, Person |
2 that. Down here it says chargeable accident. So this is 2 alleged that thelr dog was shet. What happened tn this dog
3 usually — would a DARB be something that Involves your motor 3 shooting?
4 vehicle? 4 A. | believe it was during a search warrant. They had }
5 A. Yes. 5 a dog that was off the leash in the front yard and it —
6 Q. Do you remember what this late 2010 OARB incident 6 charging.
7 was? It would have been on New Year's Eve. 7 Q. Who shot the dog? ;
8 A. No, | sure don't 8 A, I shot the dog.
9 Q. Let's talk about this July 24th, 2010 Incident. 3 Q. Have you ever received any training as to how to

10 Okay? This says that you received written reprimand for 10 deal with a dog that's on its own property?

11 failing to attend grand Jury. What was that about? 11 A. Well, it was off the leash and | was in the middle

12 A. Yeah, | believe | just forgot to go to a grand jury 12 of the street when | shot it so | wasn't on its property.

13 hearing. 13 Q, Was the dog on [ts property before you guys began to

14 Q. And the Incident actually occurred In July of 2012; 14 execute the search warrant?

15 correct? 15 A. Ibelieve so.

16 A. It looks like it, yes. 16 Q. Allright. And It was off its leash on its own

17 Q. Do you know why it took almost two years for you to 17 property; correct?

18 get the written reprimand? 18 A Yes.

19 A. No, I don't. 19 Q. Was the property fenced?

20 Q. Did you challenge this, this disciptine? 20 A. twas In the front of the street. No, it was — it

21 A. Idon't recall challenging it. 21 was just sitting up on the porch I believe whenever we were

22 Q. You don't recall filing a grievance regarding this? 22 there.

23 A. No. 23 Q. The dog was sitting on its porch when - and would

24 Q. So without filling a complaint — i'm sorry, without 24 this have been the Special Operations Team?

25 fighting this It still took about a year and a half for this 25 A Yes. i

Page 82 Page 84 |

1 written reprimand to occur; correct? L Q. And when the Special Operations Team goes to search '
2 A ftlooks like it 2 @ warrant how are you guys dressed?
3 Q. What about this, ry hearing d, 3 A. We're in plainclothes but we wear ballistic, you
4 November 6th? Do you know what that means? 4 know, black ballistic vests that say Police across the front
5 A. No. 5 and back and we have a duty belt on and typically a badge on.
6 Q@. Would a summary hearing be someplace where you are 6 Q@. And I'm assuming that when you go to serve a warrant
7 asking to fight your complaint? Have you ever heard of the 7 like this It's not a slow action, it's kind of shock and awe,
8 term summary hearing before? 8 you come In quickly and try to take over the area; right, for
9 A Yes. Yes, it's possible, 9 officer safety?

10 Q. Allright. So it's possible you decided to 10 A. Depending on the type of warrant it can be fast,

11 challenge this complaint correct? 11 yes.

12 A. mean, it’s possible. [t's nine years ago. 12 Q@. Do you remember hew the Police Department delivered

13 Honestly | don't remember. 13 this warrant?

14 Q@. Weil, | guess here's the question: During your ten 14 A. [don't remember. It wasn't my search warrant so

15 years as a police officer how often did you request a hearing 15‘ 'mnot sure.

16 regarding s complaint against you? 16 @. Well, [guess how many times during your career have

17 A I don't remember. 17 you discharged your weapon?

18 Q. Was ita lot, was It once or twice? Do you recall 18 A. A few times.

19 any? 19 Q. What's a few times?

20 A. Could have been once or twice maybe. 20 A. There was ance in 2012, the miss incident. I was

21 Q. Let's go to this 2015 incident. Police vehicte 21 involved in a shooting in — | can't remember what year it

22 maintenance and non-emergency operation. Chargeable accident. 22 was, might have bean — might have been 2016 or '17. Maybe it

23  Doyou remember whet this accident was about? 23 was 'I7. Yeah. And | think that was it.

24 A. Let's see. No, I don't remember that accident. 24 Q. So three times. Can you any other times ~ was thet

25 Q. Allright. Let's get to January 2016 was the 25 the Bomber O'Brien Incident. And any other times that you've

, 21 (Pages 81 to 84)

ALARIS LITIGATION SERVICES
www.alaris.us Phone: 1.800.280.3376 Fax: 314.644.1334
WILLIAM OLSTEN

9/3/2021

Page 85 Page 87
1 fired your weapon at somebody while you were on duty? 1 A. I don't know if they did anything. | believe there
2 A. Like I sald, this one was a dog. 2 was a camplaint from the dog's owner but I never -- | may have
3 Q. Right 3 been questioned by them. I'm not sure if | was on not.
4 A. But! had one In Repid — when | was in Rapid 4 Q. You don't remember ever being questioned by them?
5 Deployment Unit in 2012 and then I think it was 2017. 5 A. don't recall if lwas questioned or not.
6 Q. So three times during your ten-year career? 6 Q. Do you remember ever being asked about your badge
7 A. Ithink so, yes. 7 number?
8 Q. So these were — firing your weapon you would agree 8 A Na.
9 with me is kind of a big deal; right? 9 Q@. Have you ever told somebody ~ have you ever refused
10 A Absolutely. 10 to give somebody your badge number?
11 Q. Not something you want to do all the time, 11 A. No, Ihave not.
12 A. No, 12 Q. Have you ever told somebody to shut up while you
13 Q. t's a big deal, you know, like at that point | 13 were working?
14 would assume that you thought that you were at some kind of 14 A. No, [have not.
15 risk to your safety or your life or somebody else's; right? 15 Q. Have you ever used derogatory language towards
16 A. Yes. 16 somebody while you were working?
17 Q. And the Force Investigation Unit comes cut after a 17 A. No.
18 shocting; correct? 18 @. So In your elaven-yaar career tha first time you
19 A, Correct. 19 ever used any curse words towards somebody is when Amir Brandy
20 Q. And you tell them everything that occurred; right? 20 was cursing at you?
21 A. Yes. 21 A. Yeah. I don't recall any other times in that.
22 Q. So what do you remember about how you guys served 22 Q. Whole career. Never another time.
23 the warrant in this case? 23 A. Not that! recall, no.
24 A. I don't remember how it was served. | just remember 24 Q. Okay. You sald that you were Involved in a shooting
25 i was in the front of the house in the street when this 25 with the Rapid Response Team. That's not on here. What
Page 86 Page 88
1 occurred. 1 happened In that shooting?
2 Q. And so the team goes then to serve a warrant, a dog 2 MR. MILLIKAN: I'm going to stop it here. Bil,
3 funs away and runs Into the street. Then what happens? 3 "'ll advise you on any shootings of Individuals that
4 A. Yeah, Itruns towards me, charging, growling and 4 you've not received a declination letter on from the
5 its mouth open and it gets basically right next to me, that’s S Prosecuting Attorney's Office not to answer those
6 when | ended up shooting it. 6 questions and assert your Fifth Amendment privilege.
7 @. Now, so now that we know the whole area, what kind 7 Q. (By Mr. Khazaell) Old you hear what your attemey
8 of training have you received previous to that about dealing 8 sald?
9 with dogs? 9 A. Yes,
10 A, I don't remember specific training on dealing with 10 Q, Are you going to do that?
11 dogs. 11 A. Yes, I'll do what my attomey tells me to,
12 Q. You would agree with me that a lot cf people own 12 Q. fm going to once again try to ask you some general
13 dogs; right? 13 questions because I'm just trying to figure out about this.
14 A. Yes. 14 The person that you shot, did thet person dle?
15 G. Do you remember ever receiving any training from the 15 A, No.
16 Pollce Department on how to dea! with a dog? 16 Q. Do you know If any lawsuits were filed as a result
17 A, I don't recall receiving training on it. 17 of that?
18 Q. Do you recall you ever receiving any training from 18 A. No.
19 the Police Department about when you can shoot and kill a dog 19 Q. Do you know if any complaints were filed as a result
20 that's coming at you? 20 of that?
21 A. I don't recall. 21 A. No.
22 Q@. Give me one second. What kind of Investigation was 22 Q. Do you know what ended up happening, was that person
23 done efter you — this shooting occurred? 23 charged?
24 A. Inreference to? 24 A Yes.
25 Q. The dog shooting. What did the IAD do? 25 Q. Do you know what the charge was?

www.alaris.us

ALARIS LITIGATION SERVICES
Phone: 1.800.280.3376

Fax: 314.644.1334
WILLIAM OLSTEN 9/3/2021
Page 89 Page 91 ff
1 A. He was in ~ just car-jacked a car, i'm not sure 1 Q. Okay. And were you at the Specia! Operations
2 what his charges were exactly. 2 building on Manchester when this occurred?
3 Q@. Do you recall sitting here today, without getting 3 A. No. Iwas in the Communications Division.
4 Into the details of what you did that day, what the name of 4 Q. And where — I'm sorry, Is that at the headquarters
5 the person was? 5 on Ollve?
6 A. No, I sure don't. 6 A. No. It's the building where the dispatchers are.
7 MR. KHAZAELI: And Abby, we would expect any 7 Q. Where Is that?
8 documents related to this and any, you know, use of force 8 A. Next to the Police Academy,
9 and any complaints against him to be produced. Under 9 Q. latways get confused. Is the police — where Is
10 whatever confidential rules we've got going on. Okay? 10 _ the Police Academy now? Is that in the old Police
11 I'm going to move on. 11 Headquarters by the — by City Hall?
12 MS. DUNCAN: We have them, 12 A. Yes. So it's on the opposite side of that block so
13 MR. KHAZAELE I'm sorry, what did you say, Abby? 13 if you know where the Federal Building is, it's directly -
14 MS. DUNCAN: You'll supplement that. 14 Q. Yeah.
15 MR. KHAZAELE Thank you. Okay. And | think we 15 A. — across the street fram the Federal Building |
16 want all of the documents related to this dog shooting, 16 there. i
17 too. And any other complaints whether or not they were 17 Q. On Tucker; right?
18 sustained. 18 A. On-—yeah.
19 Q. (By Mr. Khazaeli) Let's go to this August 2018 19 Q. Tucker and Claric right?
20 incident. Okay? This Is tisted officers were Involved In en 20 A. Tucker and Clark. Yes.
21 _ off duty incident that involved one officer being shot with 2d Q. Directly south ts the Young Federal Building and
22 another civilian. This Is Bob O'Brien's Incident; correct? 22 _across the street is that — directly east of it Is the big
23 A. Yes. 23 Fire Department thing; right?
24 Q. And this Is the incident you already asserted your 24 A. Correct, yes.
25 Fifth Amendment rights on; correct? 25 Q. Okay. That's what | thought.
Page 90 Page 92
1 A. Yes. 1 So you're there, you get told and then what do you
2 MR. KHAZAELI: Once again, Abby, we'd like all the 2 do?
3 documents for that, toc. 3 A. Then Igo to BarnesCare.
4 Q@. (Gy Mr, Khazaell) Now, this Is one that I hadn't 4 Q. Allright. Where Is BarnesCare located?
5 seen before. January 17th, 2019. On January 17th while on 5 A. AtManchester and like Kingshighway.
6 duty the [sted officer who is detached to the Communications 6 Q. Okay. Do you go by yourself?
7 Division -- | think when we saw your group you were on the 7 A. Yes.
& Communications Division; correct? 8 Q@. You drive yourself.
9 A. Yes. 9 4 Yes.
10 Q. You received a random drug/alcoho!l screening. And 10 Q. Once you walk Into BamesCare what happens?
ii f'm assuming this Is talking about you; right? 11 A. Then you check in and then they administer the test.
12 A. Yes. 12 Q. How long does tt take for them to administer the
13 Q. And that your blood alcohol tevel was.062. And that 13 test? Like how long ~ do you remember how tong you walted
14 you had a second blood afcohol level of .053; correct? 14 before you went in?
15 A Yes. 15 A. Notlong. So they have tike a separate room there
16 Q. Okey. What happened tn that incident? 16 for like law enforcement or City employees that they kind of
17 A. Basically | came to work and they satd, hey, it’s 17 take you straight back whenever you get checked in there.
18 your random, random drug test today. | went to BamesCare and 18 Q. Okay. And were you armed at the time?
19 took their test and then while you're there they also do the 19 A. Ibelieve so.
20 blood alcohol tests. 20 Q. When you're at Communications they didn't take your
21 Q. What time of day did you go to work that day? 21 gun from you; right?
22 A. | believe it was 2:00 o'clock in the afternoon. 22 A. Correct.
23 Q. And at what point after you were at work were you 23 Q. Okay. So you drive down there. You've got your
24 told that you had a random drug test, an alcohol test? 24 weapon on you. Then what happens?
25 A [twas immediately. 25 A. Then! get checked in and administer the test.

23 (Pages 89 to 92)

ALARIS LITIGATION SERVICES |

www.alaris.us Phone: 1.800.280.3376 Fax: 314.644.1334

WILLIAM OLSTEN 9/3/2021

www.alaris.us

Page 93 Page 95
1 Q. Were you worted when you went in to the test? 1 for me,
2 A. No. 2 A. Once a week possibly.
3 @. Had you been —! mean, according to these results 3 Q. Okay. And how often would you stay out drinking
4 you had been drinking eariler in the day; right? 4 until or be drinking until 5:00 in the moming?
5 A. It was early that morning basically from the night 5 A. Probably once a week.
6 before, befare | went to sleep. 6 Q. When you were at Bar 101 who were you with?
7 Q. What time did you go to sleep? 7 A, I don't remember if ! was with anyone.
a A. Like 5:00 a.m, 8 Q. But you might have been drinking by yourseif at Bar
9 Q. So 5:00 In the a.m. and you drank unt! 5:00 a.m.? 9 101?
10 A Yes, 10 A. It's possible.
11 Q. How much do you weigh? 11 Q@. Could you have been with any police officers that
12 A. 180 pounds. 12 night?
13 Q. So 180 pounds and now we're talking you went to work 13 A. I could have been,
14 at 2:00. About what time do you think you had your blood 14 @. So how much did you say you weigh?
15 alcohol taken? 15 A. 180 pounds.
16 A, You'd have to look at the form, sir. I don't 16 Q@. And eight hours tater your blood alcoho! level was
17 remember exactly what time it was. 17 .06?
18 Q. Well, roughly, you know. Just play this out. 18 A, .053. yes.
19 MR. KHAZAELI: Well, actually, Abby, I'd Iike to 19 Q. Well, that was the second rating. The first one
20 have all these forms produced, too. 20 sald .062 actually; right?
21 Q. (By Mr. Khazaell) You say you got to work at 2:00, 21 A. Yes.
22 did a hatf hour, an hour later, how long do you think it 22 Q. Okay. Are you given any training — well, how many
23 was until you — 23 drinks do you think you had the night before?
24 A Yeah. Maybe an hour later, hour and a half later. 24 A. Ithink | had a couple at the bar and then [had a
25 Q. Let's say — 25 few, several at home.
Page 94 Page 96
1 A Hour. 1 Q. What's a few, several?
2 Q. Let's say an hour instead of hour and a half so 2 A. I don't, I don't remember,
3. we're at 3:00 o'clock now. You went to bed at 5:00 a.m. 3 Q. Give me a rough estimate.
4 Where were you drinking the night before? 4 A. I think | was drinking whiskey at home. Had a few
3 A. i'm trying to remember where we were. | might 5 whiskey glasses.
6 have — I think | was at -- 6 Q@. So when you say a few, how many?
7 Q. You sald — 7 A, Three maybe.
8 A. Bar 101 at Soulard ~- 8 Q. So you think you had a tote! of five drinks then
9 Q. —where we were — 9 between going out to the bar and 5:00 In the morning; correct?
10 COURT REPORTER: One ata time, please. 10 A. Maybe. Yeah, 1 mean, | don't remember exactly.
11 Q. (By Mr. Khazaell) Sorry. You sald Bar 101 at 11 Q. Well, are you trained on blood aicohol levels?
12 Soulard and then? 12 4. We receive training in the Academy but that's about
13 A. [think I was there and then at home | drank. 13 it
14 Q. Who were you with? 14 Q. And do you know how many drinks it takes an hour to
15 A. I don't even remember who | was with that night. If 15 Increase somebody's blood alcohol level?
16 anyone. 16 A. (don't recall, it's been so tong since we've had
17 Q. So you might have been at home drinking by yourself? 17 any training on that.
18 A. I know | was at home by myself, yeah. 18 Q. Have you received any training on how much time it
19 Q. Was it common that you would drink by yourself at 19 tekes for alcohol levels to go down?
20 home? 20 A. I'mnotan expert at afl, no.
21 A. Sometimes. 21 Q. You sald that you would possibly drink until 5:00 In
22 Q. How often? 22 the morning about once a week. During how much of your career
23 A. [don't -I don't remember haw many, | mean, how 23 woutd you do that?
24 often. 24 A. Whenever this happened, probably Just the last two
25 Q@. Once a week, once a month, once a year? Estimate 25 or three years.

24 (Pages 93 to 96)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334

www.alaris.us

WILLIAM OLSTEN 9/3/2021
Page 97 Page 99
1 Q@. So this happened tn January of 2019; correct? 1 Q. You sald that kind of — are you sure you've never
2 AL Yes. 2 brought your AR-15 to work?
3 Q. And the Incident that we're tatking about at Busch 3 A. Yeah, I've never brought it to work, no.
4 Stadium occurred in September of 2017; correct? 4 MR. KHAZAELI: Let's take ten just so! can [oop
5 A. Correct. 5 back and make sure | didn't miss anything. Okay? We'll
6 G. Doing my math, that's one year and four months 6 be out of here before funch, before noon.
7 beferehand; correct? 7 THE VIDEOGRAPHER: We're going off record 11:14 am.
8 A. Yes. 8 (Whereupon, there was a break in the proceedings
3 Q. That's during the period where you on a weekly basis 9 from 11:14 a.m, to 11:21 am.)
10 would drink until 5:00 in the morming; correct? 10 THE VIDEOGRAPHER: Back on the record 11:21 a.m.
11 A. Yes. 11 Q. (By Mr. Khazaell) | Just wanted to loop back
12 Q. Okay. And when you would drink until 5:00 In the 12 through a few things.
13 moming while you were on Special Ops did you ever go to work 13 You sald that you were Involved in a shooting when
14 the next day? 14 you were on Rapid Response, you were Involved in the shooting
15 A. Yes. 15 Involving the dog. There was a third shooting; right?
16 Q. Did you ever go to work In the morning the next day? 16 A. Yes.
17 A. It's possible. I don't remember. 7 Q. Allright. I'm assuming that your attorney's going
18 Q. Often your warrants on Special Ops are executed In 13 to advise you the same thing regarding that shooting.
19 the moming; right? 19 MR. KHAZAELI: Correct. Brian?
20 A. Yes. 20 MR. MILLIKAN: That's correct.
21 Q. And that was during the time that you were often 21 Q. (By Mr. Khazaeil) So I'm not going to get into the
22 drinking until 5:00 In the moming; correct? 22 specifics of the shooting too much but do you remember the
23 A. Yes. 23 neme of the person who was shot?
24 MR, MILLIKAN: I’m going to ~ I'm going to object 24 A. [think his name was Tyrone Smith.
25 to that question. Misstating the prior testimony. You 25 Q. And did Mr. Smith survive the shooting?
Page 98 Page 100
1 said often. So | would object on that basis. 1 A. Yes.
2 Bill, if you know the answer you can answer. 2 Q. Was Mr, Smith charged with anything?
3 Q. (By Mr. Khazaell | think you've already answered 3 A. Yes.
4 yes; right? 4 Q. Do you know what he was charged with?
5 A. Yeah, it was during that time, yeah. 5 A. tdon't recall.
6 Q@. Based on police training, can a police officer be on 6 MR. KHAZAELI: Abby, we're going to want the
7 duty with thelr gun with any alcohe! In their system? 7 documents regarding that shooting.
8 A. Yeah, actually — no, | don't believe they can. No. 8 Q. (By Mr. Khazaeli) Other than Force Investigation
3 Q. Do you know somebody named Christopher Tanner? 9 did anybody from LAD ever come and talk to you about that
10 A. know — I know who he is but [ don’t know him 10 shooting?
11 personally. 11 A. No.
12 Q. How about Jason Stockley? 12 Q. Did Force Investigation come and talk to you about
13 A Again | know who he was but I don't know him 13 that shooting?
14 personally. 14 A. Yes.
15 Q. Now, Mr. Stockley, have you heard the allegation 158 Q. And since it’s not showing up on your snapshot i'm
16 that Mr. Stockley drove around with a personal weapon tn his 16 assuming that they determined that was a justified shooting.
17 vehicle? 17 A. Yes.
18 A I'm not aware of that. 18 Q. Have you since leaving the St. Louls Police
19 Q. Have you ever — you've been spoken to before about 19 Department applied for Jobs with any other police departments?
20 bringing your persona! weapon to work; haven't you? 20 A. Just recently, yes.
21 A No. 21 Q. Where?
22 Q. You don't own an AR-15? 22 A. lapptied for the Sheriff's Office in Jefferson
23 A. Yes,1do own an AR-15, 23 County.
24 Q. And you've never brought that AR-15 to work? 24 Q. And why did you pick JeffCo Sheriff's Office?
25 A. I don't believe so, no. 25 A. That's where | live.

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

25 (Pages 97 to 100)

Fax: 314.644.1334
WILLIAM OLSTEN 9/3/2021

Page 101 Page 103
1 @. Is that anything — isn't that where Sergeant 1 still a policeman. I don't remember when.
2 Rossomanno works? 2 Q. Okay.
3 & Yes. Yes, he does. 3 A. Several years.
4 Q@. Did he have enything to do with you applying for 4 Q@. Let's go — let's go bacic So the fact that you're
S that job? 5 applying for these jobs, that leads me to betleva — and tell
6 A. No, 6 me If i'm wrong -- that your POST license, your P-O-S-T
7 Q@. When did you apply for the job at Jefferson County? 7 Itcense, is still valid; correct?
8 A. It's been a few months now. 8 A. Yes. itis.
9 G. Have you heard back? 9 MR. KHAZAELI: And POST, Lei Ann, is all
10 A. I've tested with them but I haven't heard anything 10 capitalized.
11 back. 11 Q@. (Gy Mr. Khazaeli) Do you know of any actions taken
12 Q. Do you know if anybody — did you list anybody from 12 agalnst your POST license?
13 the St. Louis Police Department as a reference for that Job? 13 A. lreceived a letter from them that said they have
14 A. Yes, I did. 14 looked at my disciplinary stuff. However, that my POST was
15 Q. Who? 15 still active and that they didn't find reason to suspend my
16 A. Captain Mike Mueller | think I put on there. 16 POST license.
17 Q. And ts Mueller spelted M-u-e-t-[-e-r? 17 Q. Even though you had a blood alcohol tevel of between
18 A. Yeah. I'm not positive if I put him on there but I 18 .OS3 and .062 while at work with a gun?
19 think I did. 19 A. Yes. I
20 Q. Did you speak te Mr. ~ to Captain Mueller before 20 GQ. Now, i'm locking back at that disciplinary record 4
21 you applied? 21 and I'm a little bit confused. You were terminated; correct?
22 A. Yeah. just asked him if | could put him on as a 22 You didn't resiqn; right?
23 reference. 23 A. | resigned.
24 Q. And did he say yes? 24 Q@. Okay. So you resigned. You actually — you were
25 A. Yes. 25 not terminated.
Page 102 Page 104
1 Q. Was Captain Mueller aware of you being discipiined 1 A. Correct.
2 because of your — because of blood alcoho! level in your — 2 Q@. So when the report here says that you were
3 because of your blood alcoho! level? 3 terminated, that’s actually false; right?
4 A. I'mnotsure, 4 A. That's wrong. Yeah. I
5 Q. Was Captain Mueller — obvicusly because of the 5 MR. MILLIKAN: Javad, I can clear this up for you if
6 press knew about the shooting at Bomber O'Brien's; correct? 6 you'd like.
7 MR, MILLIKAN: {I'm going to object. It calls for 7 MR. KHAZAELI: I'm assuming that this is just he was i
8 speculation. 8 told he was going to be terminated and he resigned.
9 Q. (By Mr. Khazaell) Did you ever speak to Captain 9 Right?
10 Mueller about the shooter — shooting at Bomber O'Brien's? 10 MR. MILLIKAN: He was initially terminated, that was
11 A. No, not that I recall. 11 reversed on appeal, end he then resigned after it was
12 Q. Before he agreed to give you a recommendation did he 12 reversed,
13 ask you about the shooting at Bomber O'Brien's? 13 Q. (By Mr. Khazaell} Let me ask this question, end
14 A, Not that I recail. 14 Mr. Olsten, If you don't know it | can get it from Brian:
15 Q. Okay. Do you know ff you listed Sergeant Bartfett 15 When you were Initially terminated do you remember
16 as a reference? 16 if tt was for the Bomber O'Brien case, If it was for the blood
17 A. I don't believe | did. 17 atcoho! thing or if It was for both of them?
18 Q. Other then Captain Mueller did you list anybody else 18 A. Just the blood alcoho! thing.
19 as references? 19 Q. Sone termination sction was taken against you
20 A. Not from the Police Department | don't think so. 20 because of the Bomber O'Brien —
2t Q. When was the last time you spoke to Sergeant 21 A. No.
22 Rossomanno? 22 Q. — case; correct?
23 A. | saw him at the testing for Jefferson County | 23 A. No.
24 guess it was probably three weeks ago. Apart from that! 24 Q. And that blood atechol case was reversed; correct?
25 haven't spoken to him since ~ since he was -- since | was 25 A. Yes, it was.

26 (Pages 101 to 104)

ALARIS LITIGATION SERVICES
www.alaris.us Phone: 1.800.280.3376 Fax: 314.644.1334

Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 27 of 29 PagelD #: 1991

WILLIAM OLSTEN 9/3/2021

Page 105 Page 107
1 Q. If it was reversed why did you then resign? 1 Lieutenant Jemmerson was there, J-e-m-m-e--s-o-n -—-
2 MR. MILLIKAN: And to the extent that — I'm going 2 A. Yes.
3 to object to the extent that some of this calls for 3 Q. - right? And he would have been below Major
4 attorney-client communication. What he knows about it 4 Hayden; correct?
5 was certainly communicated by me to him. 5 A. Yes.
6 So | want to be careful about, Bill, you not talking 6 Q. And Major Hayden didn't use any pepper spray;
7 about what we talked about if that's possible to answer 7 correct?
8 that question. 8 A. Not that I'm aware, sir.
9 Q. (By Mr. Khazaeli) And answer this question 9 Q. And Mr. Hayden — Major Hayden did not direct you to
10 generally as to what your mindset was. | don't want you to 10 use any pepper spray; did he?
TL give me any specific word for word conversation that you had 11 A. No.
12 with Brian. Okay? 12 Q. Did Mr. — did Major Hayden ever come afterwards and
1 What was your mindset after your case was reversed? 13 ask you what happened?
14 And I'm assuming when it was reversed you could go back on 14 A. Not that! recall.
15 duty. Why did you choose to resign? 15 Q. Did he ever ask you if you were okay?
16 A. | don't want to work in the city anymore. 16 A. Not that | recall.
1? Q. So it was your choice to leave the Police By Q. Did he ever ask you about why you used the pepper
18 Department; correct? 18 spray?
13 A. Yes, it was my choice to resign. 19 A. No,
20 Q. Do you remember who was on your panel when you 20 Q. Did he ever ask you why you didn't try to arrest
21 decided to fight the termination? 21 somebody after using the pepper spray?
22 THE WITNESS: Brian, you would have to answer that. 22 A. Not that! recall.
23 I'm not sure. 23 Q. Did he ever ask you why you didn't leave the area
24 MR. MILLIKAN: It wasn't a panel. It was appealed 24 after you used the pepper spray?
25 to the Civil Service Commission. 25 A. No.
Page 106 Page 108
1 MR. KHAZAELI: Okay. The Civil Service Commission. 1 Q. Did anybody ever come to you in after action
2 Q. (By Mr. Khazaeli) So the St. Louis Civil Service 2 scenario and talk to you about things you could have done
i Commission determined that you being on duty with a blood 3 better?
4 alcohol level of .063 to .05 something with your weapon was 4 A. No,
5 not grounds to terminate you as a police officer. 5 MR. KHAZAELI: That's all I've got.
6 A Yes. 6 MR. MILLIKAN: All right. Abby, do you have any?
7 Q. Allright. And | think this is my last line of 7 MS, DUNCAN: | do.
8 questioning. Let's go back to the incident at Busch Stadium. 8
9 All right? And you've reviewed the video. 9 EXAMINATION
10 Major Hayden was there; right? 10 BY MS, DUNCAN:
11 A. Yes. li Q. Mr. Olsten, you were asked about the Ball-Bey
12 Q. And Major — and he was the white shirt that was the 12 incident involving Officer Vaughan. Do you remember that
13 highest rank person on site; correct? ES questioning?
14 A Yes. 14 A Yes.
15 Q. | don't remember: Do you recall any other white ES Q. Okay. Did you see Mr. Ball-Bey that day?
16 shirts on site? 16 A. No, | did not.
17 A. Not that! recall. 17 Q. Did you go inside the house?
18 Q. Sergeant Bartlett was there; right? 18 A. Yes,I did.
19 A. Yes. 19 Q. And when — at what point did you go into the house?
20 Q. And he would have ranked below Chief Hayden; 20 A. After SWAT cleared the house they relinquished it to
21 correct? 21 me and then | began my — my search of the residence.
22 A. Yes. 22 Q. At no point you saw Mr. Ball-Bey at that time?
23 Q._ I'm sorry, Major Hayden at the time; correct? 23 A. Not atall, no.
24 A. Yes. 24 Q. And if IAD were to call you in today and ask you
25 Q. And | think | saw in the one of the videos 25 about Mr. Vaughan's shooting of Mr. Ball-Bey would you have

www.alaris.us

27 (Pages 105 to 108)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334

WILLIAM OLSTEN

9/3/2021

www.alaris.us

Page 109 Page 111
1 any Information to provide them? 1 anything? That's after you talk to them; correct?
2 A. No. Like! sald, I was in the front of the house 2 A. Yes.
3 and they were in the rear so, |mean, | had no line of sight 3 Q, Are you ever taught to assume that somebody doesn't
4 of Ball-Bey, Vaughan or Chandler. 4 have perscnal information?
5 Q. You were asked about allegations that were made 5 A. I'm sorry, I don't understand the question.
6 against Officers Wentzel, Vaughan, Chandler and Zajac; Is that 6 Q. Allright. Ms. Duncan asked you several times
7 right? 7 her you had eny p al nowledge of incidents. When you
8 A. Yes. a were a detective and you were investigating a crime, did you
9 Q, Do you have any personal knowledge about why 9 Just assume other that people who were near the crime did not
10 Mr. Wentzel would be on the exclusionary list? 10 have personal knowledge or did you take steps to confirm that
11 A. No, I don't, 11 yourself?
12 @. Do you have any personal knowledge Involving any of 12 A. Typically we'd take steps to confirm that.
13 the allegations of forgery brought against Officer Vaughan? 13 @. Allright. (f you were In a — I'm going to give
14 A. No, I don't. 14 you a hypothetical here and i'm just going to pre-object for
15 Q, Do you have any personal! knowledge of the 15 your attomey that this Is specutattan.
16 allegations against Mr. Chandler and his overdose? 16 But let's say that you go Into a criminal — Into a
17 A, No, Ido not. 17 bullding. Right? Okey? And there are nine people In the
18 Q@. Do you have any personal knowledge with respect to 18 bufiding. And six of the nine people have been accused of
19 Zajac's alleged seeking of drugs? 19 committing some form of crime, Right?
20 A. No, 'do not 20 Would you as a detective Investigate that whole
21 Q. And if IAD wauld bring you in to interview you about 21 group to figure out why there's a group of people where six of
22 these allegations would you have any information to provide 22 nine people are accused of criminal activity?
23 them with? 23 MR, MILLIKAN: I'll object -
24 A. No, | would not. 24 Q. (By Mr. Khazael) That would be interesting —
25 Q. With respect to your use of pepper spray on 25 MR. MILLIKAN: I'll object for the record just so
Page 110 Page 112
1 September 29th at Busch Stadium, did anyone from the Police 1 it's clear,
2 Department tell you to use your pepper spray? 2 Q. (By Mr. Khazeel) That would be interesting to you
3 A No. 3 as a detective; correct?
4 Q. Did anyone from SLMPD order you to use your pepper 4 A. Yeah. }
5 spray that night? 5 Q. Right. You would want to know more about that; Ei
6 A. No. 6 correct? X
7 Q. Before you used your pepper spray did you tell 7 A. Yes.
8 anyone that you were going to use It? 8 @. You would want to ask everybody in that building
9 A. Not that (recall. 9 what they knew about the other peopte; correct? |
10 MS. DUNCAN: That's all the questions I have. 10 A. Yes.
11 MR. KHAZAELI: Brian, you got anything? 11 Q. You woutd fully Investigate that; correct?
12 MR. MILLIKAN: Javad, do you have any followup? 12 A. Typically, yes.
13 MR. KHAZAELI: Very short. 13 Q. You wouldn'tjust assume that all of the nine people
14 14 had no personal knowledge of what the other people did;
15 REEXAMINATION 15 correct?
16 BY MR. KHAZAELI: 16 A Yes.
17 Q. ‘You are a detective; correct? 17 Q. And even if the people told you they had no personal
16 A. Yes the. 18 knowledge you would conduct an additional investigation to
19 Q. And you have investigated criminal activity before; 19 confirm that that was true; correct?
20 correct? 20 A Possibly, yes.
21 A Yes. 21 Q. Ailright. When you're investigating people you
22 Q. When you investigate criminal activity do you 22 Just don't always trust what they say; correct?
23 interview people who are near the scene of alleged crimes? 23 A. Not always.
24 A. Sometimes. 24 Q. Allright. You do independent Investigations to get
25 Q. And Is it sometimes you find out they don't know 25 more information; correct?

28 (Pages 109 to 112)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334

Case: 4:18-cv-01677-SRC Doc. #: 119-6 Filed: 11/22/21 Page: 29 of 29 PagelD #: 1993

WILLIAM OLSTEN 9/3/2021

24
25

Page 113

A. Yes.

Q. Has anybody asked, ever asked you for your text
messages between you and Officer Zajac?

A. No.

Q. Has anybody ever asked for text messages between you
and Officer Boone?

A. I don't believe I've ever texted Officer Boone.

THE COURT REPORTER: I'm sorry. Officer Boone?
MR. KHAZAELI: Boone. Boone.

Q. (By Mr. Khazaeli) Has anybody ever asked you if
you've ever texted with Officer Boone?

A. No.

Q. Has anybody ever asked you for any correspondence
between you and Officer Vaughan?

A. No.

Q. Has anybody ever asked you for any correspondence
between you and Officer Chandler?

A. No.

Q. You and Officer Wentzel?

A. No.

Q. You and Officer Thacker?

A. No.

Q. Has anybody, other than me today, has anybody ever
investigated or spoke to you about anything regarding those
other people that | just named?

ro
Pow OH nue wne

12

24

25

Page 115

REPORTER'S CERTIFICATE

I, Lei Ann Laster Odom, Certified Realtime Reporter,
Registered Merit Reporter, Certified Court Reporter for the
State of Missouri, do hereby certify that the foregoing is a
true and correct transcription of my stenographic notes of the
testimony taken by me of the witness, WILLIAM OLSTEN, in the
matter of RASHEEN ALDRIDGE, Plaintiff, versus CITY OF SAINT
LOUIS, et. Al., Defendant, Case No. 4:18-cv-01677-CAS, said
deposition held at via Zoom on September 3, 2021, between 9:02
a.m, and 11:39 a.m., after said witness had been duly sworn by
me, that said testimony was taken down in Stenotype,
thereafter caused to be reduced to writing by means of
computer-aided transcription, and the signature of said
witness being waived.

WHEREOF, | have hereunto set my hand and affixed my seal
this Sth day of September, 2021.

ite fa) fon)
Lei Ann Odom

Certified Court Reporter No. 428
Certified Realtime Reporter

Registered Merit Reporter

Page 114

. Not that I'm aware of.

. That includes LAD; correct?

. Correct.

. That includes your chain of command; correct?

PoPrPoOP

. Correct.
Q. That includes the Criminal Division of the Police
Department that could be doing an Investigation; correct?
A. Correct.
Q. That includes the FBI; correct?
A. Correct.

MR. KHAZAELI: No further questions.

MR. MILLIKAN: Abby, do you have any?

MS. DUNCAN: I have no follow-up, Thanks.

MR. MILLIKAN: Okay. Bill, would you like to waive
or read?

THE WITNESS: We can waive.

MR. MILLIKAN; He'll waive.

THE VIDEOGRAPHER: This concludes the video recorded
deposition of William Olsten at 11:39 a.m. We are off
the record.

(Witness excused.)
(The deposition was concluded at 11:39 a.m.)
(Signature waived.)

www.alaris.us

29 (Pages 113 to 115)

ALARIS LITIGATION SERVICES

Phone: 1.800.280.3376

Fax: 314.644.1334
